        Case 1:18-bk-13319                          Doc 1             Filed 09/04/18 Entered 09/04/18 11:44:02                              Desc Main
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     Fill in this information to identify your case:

     ,.::1ited States Bankruptcy Court for the:                                                                        �'B
                                                                                                          2018 SEP -L,
     Souttiern District of Ohio
                                                                                                                       AH I I: 26
     ·>s,; number (If known):    ___________                              Chapter you are filing under:
                                                                          ill' Chapter?
                                                                          D   Chapter11
                                                                          D
                                                                          D
                                                                              Chapter12
                                                                              Chapter13                                                  □ Check if this 1$ ,Y!
                                                                                                                                            amended filing



Official Form 101
1
 Voluntary Petition for Individuals Filing for Bankruptcy
 n1e bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-cal!cr1,
1oinl case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car.··
:ii., answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 :H,:!
i.lebtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as De/Jtor ,·;,,·
same person must be Debtor 1 in all of the forms.
'Jc- as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
,11tormation. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and ca'"'
(,·, known). Answer every question.


@                                             s f
  - . •'•'•..:•.:d:en:t:ify:!..:Y:..:o::u:.:.r :e::l::_ ___________________________________ ,,_______ _
111
                                              About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint �;3"'
 1     Your full name
       · i'Jrlte the name that is on your
       , 10v,';rnment-issued picture
                                              Charlene
        ,, 1rn\ification (for example,        First name                                                    First name
       yuur driver's license or                Marie
       nas 1;;port).                          Middle name                                                   Middle name

       · ::i"J your picture                    Davis
        -:It':' ,tif1cation to your meeting   Last name                                                     Last name
        ,,,,ii; the trustee.
                                              Suffix (Sr, Jr., II, Ill)                                     Suffix (Sr., Jr., II, Ill)




2.     Ali other names you
       have used in the last 8                First name                                                    First name
       years
        nci ude your married or               Middle name                                                   Middle name
       .nai,ien names.
                                              Last name                                                     Last name


                                              First name                                                    First name

                                              Middle name                                                   Middle name

                                              Last name                                                     Last name




      Only the last 4 digits of
      vour Social Security                    XXX          XX -     _3___2___8___3 _                        XXX           XX -

      ·,umber or federal                      OR                                                            OR
      individual Taxpayer
      ',ientification number                  9xx - xx                                                      9xx - xx
       ':;1-J)

    "':c·'ai F()rm 101                                     Voluntary Petition for Individuals Filing for Bankruptcy
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              Charlene M                                 Davis                                          Case number (if known)___________                       _
               First Name   Middle Name                 Last Name




                                          About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):


,t   Any business names
     and Employer                         ·0"1 have not used any business names or EINs.                   D I have not used any business names or EINs
     Identification Numbers
     (EIN) you have used in
     the last 8 years                     Business name                                                    Business name

     Include trade names and
     doing business as names              Business name                                                    Business name



                                          EIN                                                              EIN


                                          EIN                                                              EIN




     Where you live                                                                                        If Debtor 2 lives at a different address:



                                          2:�L{ lJ'\1\t\-\C\M IX,V -Q
                                          Number           Street
                                                                              v\
                                                                                                           Number        Street




                                            C>V'£)j\oct� 0110
                                          City                                      State
                                                                                              lb?i!
                                                                                             ZIP Code      City                                   State



                                          Co
                                             t}Qfrlt
                                              ty
                                                     \ill                                                  County

                                          If your mailing address is different from the one                If Debtor 2's mailing address is different from
                                          above, fill it in here. Note that the court will send            yours, fill it in here. Note that the court will se;,d
                                          any notices to you at this mailing address.                      any notices to this mailing address



                                          Number          Street                                           Number        Street


                                          P.O. Box                                                         P.O. Box


                                          City                                     State     ZIP Code      City                                   State




     'J\/hy you are choosing     hec ne:                                                                   Check one:
     this district to file fo  �
     bankruptcy             'f\
                            �
                              ( Over the last 180 days before filing this petition,
                                                 I have lived in this district longer than in any
                                                                                                           D   Over the last 180 days before filing this petItou11
                                                                                                               I have lived in this district longer than 111 a;-;-,
                                                 other district.                                               other district.

                                                                                                           D   I have another reason. Explain
                                                                                                               (See 28 U.S.C. § 1408.)




 Ufficial Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                      pagE:: 2
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Dc,btor 1        Charlene M
                 First Name   Middle Name
                                                        Davis
                                                      Last Name
                                                                                                     Case number (if known) __________




              Tell the Court About Your Bankruptcy Case


.,    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individual:; Fi/inn
      Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
                                            l;ZI Chapter 7
      under
                                            0 Chapter 11
                                            □ Chapter 12
                                            0 Chapter 13

      !.. ow you will pay the fee           □ I will pay the entire fee when I file my petition. Please check with the clerk's office in you­
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                            l;ZI I need to pay the fee in installments. If you choose this option, sign and attach the
                                                 Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            0 I request that my fee be waived (You may request this option only if you are filing for Chapi>•
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income 1<
                                              less than 150% of the official poverty line that applies to your family size and you are unabie 1
                                              pay the fee in installments). If you choose this option, you must fill out the Application to i--lavo.
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


ii. Have you filed for                      i;ZI No
    bankruptcy within the
    last 8 years?                           0 Yes. District __________ When ______ Case number ___                                          _
                                                                                                   MM/ DD/YYYY

                                                      District __________ When ______ Case number ____                                          _
                                                                                                   MM/ DD/YYYY

                                                      District __________ When ______ Case number ___                                           _
                                                                                                                                                _
                                                                                                   MM/ DD/YYYY



     ,\re any bankruptcy                    i;ZI No
     r,ases pending or being
     filed by a spouse who is               D Yes.    Debtor __________________ Relationship to you
     not filing this case with                        District __________ When ______ Case number, if known_ _
                                                                                                             _ _
     you, or by a business                                                                         MM/DD /YYYY
     partner, or by an
     affiliate?
                                                      Debtor __________________ Relationship to you
                                                      District __________ When ______ Case number, if known_ _
                                                                                                             ______
                                                                                                   MM/DD/YYYY



11. Do you rent your                        � No. Go to line 12.
    residence?                              0 Yes. Has your landlord obtained an eviction judgment against you?
                                                      D   No. Go to line 12.
                                                      0 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) anrJ f:!r, :',,
                                                        part of this bankruptcy petition.




     ,,,;c,ai Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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               Charlene M                                   Davis                                        Case number (if known)________          _
              First Name        Middle Name              Last Name




            Report About Any Businesses You Own as a Sole Proprietor


   Me you a sole proprietor                   IZl No. Go to Part 4.
   of any full- or part-time
   business?                                  D Yes. Name and location of business
   ,\ sole proprietorship is a
   i,usiness you operate as an
                                                        Name of business, if any
   individual, and is not a
   c;eparate legal entity such as
   ;, corporation, partnership, or
                                                        Number        Street
   l.LC
   1f you have more than one
   ,,ole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                                         City                                                   State       ZIP Code


                                                        Check the appropriate box to describe your business:
                                                        D   Health Care Business (as defined in 11 U.S.C. § 101 (27A))
                                                        D   Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                                        D   Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                                        D   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                        D   None of the above


   Are you filing under                       If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
   Chapter 11 of the                          can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
   Bankruptcy Code and                        most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or 1 t
   are you a small business                   any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
   debtor?
   f-or a definition of small
                                              IZl No.   I am not filing under Chapter 11.
   husiness debtor, see                       D No.     I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
   11 U S.C. § 101 (510).                               the Bankruptcy Code.

                                              D Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in !h8
                                                        Bankruptcy Code.


           Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


"4. Do you own or have any                    IZl No
  property that poses or is
  alleged to pose a threat                    D Yes. What is the hazard?
  of imminent and
  identifiable hazard to
  public health or safety?
  Or do you own any
  property that needs
                                                         If immediate attention is needed, why is it needed? ____________                      _
  immediate attention?
  ··o• example, do you own
  perishable goods, or livestock
  :nat must be fed, or a building
  t,;at needs urgent repairs?
                                                         Where is the property? .,.,..-------,,---------------------
                                                                                   Number       Street




                                                                                   City                                         State      ZIP Code


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               CharleneMiddleMName
              First Name
                                                  Davis
                                                Last Name
                                                                                                    Case number (if/mown)____________




           Explain Your Efforts to Receive a Briefing About Credit Counseling


                                      About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
1s. Tell the court whether
    you have received a
   briefing about credit              You must check one:                                              You must check one:
   counseling.
                                      !;a I received a briefing from an approved credit                D I received a briefing from an approved credit
                                          counseling agency within the 180 days before I                 counseling agency within the 180 days h<,,forn
    fhe law requires that you             filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I rccci",;,:'.
   receive a briefing about credit        certificate of completion.                                     certificate of completion.
   counseling before you file for
                                          Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payn. ,
   bankruptcy. You must
                                          plan, if any, that you developed with the agency.              plan, if any, that you developed with the c11 , , :
   truthfully check one of the
   following choices. If you
   ::,Jnnot do so, you are not
                                      D I received a briefing from an approved credit                  D I received a briefing from an approved err,,�,,
                                         counseling agency within the 180 days before I                   counseling agency within the 180 days i:c·fo•·,
   ,·/igible to file.                    filed this bankruptcy petition, but I do not have a              filed this bankruptcy petition, but I do nG: 1,
                                         certificate of completion.                                       certificate of completion.
   lf you file anyway, the court         Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bar1krup\c:y , · '·
   c;i11 dismiss your case, you          you MUST file a copy of the certificate and payment              you MUST file a copy of the certificatec       , ,
   ·:,di lose whatever filing fee
                                         plan, if any.                                                    plan, if any.
   yuu paid, and your creditors
   r;an begin collection activities
     ",Fltn.
                                      D I certify that I asked for credit counseling                   D I certify that I asked for credit counso!im:
                                         services from an approved agency, but was                        services from an approved agency, but w;,,,
                                         unable to obtain those services during the 7                     unable to obtain those services during thr, J
                                         days after I made my request, and exigent                        days after I made my request, and exigent
                                         circumstances merit a 30-day temporary waiver                    circumstances merit a 30-day temporary w:•.,•.1•
                                         of the requirement.                                              of the requirement.
                                         To ask for a 30-day temporary waiver of the                      To ask for a 30-day temporary waiver of the
                                         requirement, attach a separate sheet explaining                  requirement, attach a separate sheet exp•:,:·,'";
                                         what efforts you made to obtain the briefing, why                what efforts you made to obtain the briefin,i w! 1:1
                                         you were unable to obtain it before you filed for                you were unable to obtain it before you filed for
                                         bankruptcy, and what exigent circumstances                       bankruptcy, and what exigent circumslanch
                                         required you to file this case.                                  required you to file this case.
                                         Your case may be dismissed if the court is                       Your case may be dismissed if the court "
                                         dissatisfied with your reasons for not receiving a               dissatisfied with your reasons for not recc•;::·,::
                                         briefing before you filed for bankruptcy.                        briefing before you filed for bankruptcy.
                                         If the court is satisfied with your reasons, you must            If the court is satisfied with your reasons. y<· .:
                                         still receive a briefing within 30 days after you file.          still receive a briefing within 30 days afte;
                                         You must file a certificate from the approved                    You must file a certificate from tt1e appro\,:.:.
                                         agency, along with a copy of the payment plan you                agency, along with a copy of the paymen· ,. ·
                                         developed, if any. If you do not do so, your case                developed, if any. If you do not do so. yo: r:
                                         may be dismissed.                                                may be dismissed.
                                         Any extension of the 30-day deadline is granted                  Any extension of the 30-day deadline is fjr 2-, He<:
                                         only for cause and is limited to a maximum of 15                 only for cause and is limited to a rnax,rrn:rr, �­
                                         days.                                                            days.

                                      D I am not required to receive a briefing about                  D I am not required to receive a briefing ;;bn,1i
                                        credit counseling because of:                                     credit counseling because of:

                                         D   Incapacity.      I have a mental illness or a mental         D   Incapacity.    I have a mental illness o: ,· 1 ·"' ,
                                                              deficiency that makes me                                       deficiency that makes rr:e
                                                              incapable of realizing or making                               incapable of realizing or ir,,ii-. .,:;:
                                                              rational decisions about finances.                             rational decisions about f111.1r1,;,
                                         D   Disability.      My physical disability causes me            D   Disability.    My physical disability cau::o;c me
                                                              to be unable to participate in a                               to be unable to participate ,:·, ,;
                                                              briefing in person, by phone, or                               briefing in person, by pl1one. or
                                                              through the internet, even after I                             through the internet, even att-1
                                                              reasonably tried to do so.                                     reasonably tried to <10 s:,
                                         D Active duty.       I am currently on active military           D Active duty.     I am currently on active rri,i1LJi.•
                                                              duty in a military combat zone.                                duty in a military combat ,or,,c-
                                         If you believe you are not required to receive a                 lf you believe you are not required to reee·1v,: ::
                                         briefing about credit counseling, you must file a                briefing about credit counseling, you must r,k- .,
                                         motion for waiver of credit counseling with the court.           motion for waiver of credit counseling with :1 ., , ,,,




 Uifil:ial Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy
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               Charlene M                              Davis
                                                     Last Name
                                                                                                     Case number (1fknown)_______              _
              First Name   Middle Name




            Answer These Questions for Reporting Purposes


                                         16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U S.C § 101;13\
,, What kind of debts do                      as "incurred by an individual primarily for a personal, family, or household purpose."
   you have?
                                              D     No. Go to line 16b.
                                              121 Yes. Go to line 17.
                                         16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtai,·,
                                              money for a business or investment or through the operation of the business or investment.
                                              0 No. Go to line 16c.
                                              D Yes. Go to line 17.
                                         16c. State the type of debts you owe that are not consumer debts or business debts.



   Are you filing under
   Chapter7?                             0 No. I am not filing under Chapter 7. Go to line 18.

   Do you estimate that after            121 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
   any exempt property is                          strative expenses are paid that funds will be available to distribute to unsecured creditors')
                                                  �
   excluded and
   administrative expenses
   are paid that funds will be                      0 Yes
   available for distribution
   to unsecured creditors?

< s. How many creditors do               121 1-49                                  0 1,000-5,000                             0 25,001-50,000
     you estimate that you               0 50-99                                   0 5,001-10,000                            0 50,001-100,000
     owe?                                0 100-199                                 0 10,001-25,000                           D More than 100.000
                                         0 200-999

· '.", How much do you                   121 $0-$50,000                            0   $1,000,001-$10 million                0   $500,000,001-S1 bi!IICP
       estimate your assets to           0 $50,001-$100,000                        0   $10,000,001-$50 million               0   $1,000,000,001-$10 liillio;,
       !}c worth?                        0 $100,001-$500,000                       0   $50,000,001-$100 million              0   $10,000,000,001-$50 biii:t•,
                                         D $500,001-$1 million                     0   $100,000,001-$500 million             0   More than $50 billion

   How much do you                       � $0-$50,000                              0   $1,000,001-$10 million                D $500,000,001-$1 bi!Lcr,
   ,,,sHmate your liabilities            0 $50,001-$100,000                        0   $10,000,001-$50 million               0 $1,000,000,001-$10 billio,:
   to be?                                0 $100,001-$500,000                       0   $50,000,001-$100 million              0 $10,000,000,001-$50 bililo,,
                                         D $500,001-$1 million                     0   $100,000,001-$500 million             D More than $50 billion
            Sign Below

                                         I have examined this petition, and I declare under penalty of perjury that the information provided is t:ue anu
Fo;· you                                 correct.
                                         If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11.12, ,;,
                                         of title 11, United States Code. I understand the relief available under each chapter, and I choose to r'rcc<;,?C,
                                         under Chapter 7.
                                         If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help ,�,e 1,11 , , i;
                                         this document, I have obtained and read the notice required by 11 U.S,C, § 342(b).
                                         I request relief in accordance with the chapter of title 11, United States Code, specified in this petitior1,
                                         I understand making a false statement, concealing property, or obtaining money or property by traucl 1:, cu• , ,,
                                         with a bankruptcy case can resul · fines up to $250,000. or imprisonment for up to 20 years, or both
                                         18 U,S.C. § 152, 1 41, 1519,       3571. 1

                                         X                                                               X
                                            Signa      e of Debtor 1                                         Signature of Debtor 2

                                             Executed on     d1 0MM
                                                                        J   ;)_/)/<{
                                                                      / DD /YYYY
                                                                                                             Executed on _______
                                                                                                                            MM/ DD      /YYYY


  111,�,z,I Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                       paqc G
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'.\..:btor 1   Charlene M                             Davis                                           Case number (1fknown),_______              _
                                                                                                                                                 _ __
               First Name   Middle Name             Last Name




                                          I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eiigib1 i 1tv
:er your attorney, if you are             to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                        available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor, s'
                                          the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have m,
ii you are not represented                knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
tiy an attorney, you do not
need to file this page.
                                                                                                               Date
                                             Signature of Attorney for Debtor                                                 MM         DD /YYYY




                                             Printed name


                                             Firm name


                                             Number      Street




                                             City                                                             State           ZIP Code




                                             Contact phone _______________                                    Email address




                                             Bar number                                                       State




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               Charlene M                                Davis                                    Case number (if known),___________
               First Name   Middle Name             Last Name




For you if you are filing this                The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                         should understand that many people find it extremely difficult to represent
attorney                                      themselves successfully. Because bankruptcy has long-term financial and legal
                                              consequences, you are strongly urged to hire a qualified attorney.
i'f you are represented by
an attorney, you do not                       To be successful, you must correctly file and handle your bankruptcy case. The rules are very
tieed to file this page.                      technical, and a mistake or inaction may affect your rights. For example, your case may be
                                              dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                              hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator. or aud,t
                                              firm if your case is selected for audit. If that happens, you could lose your right to file another
                                              case, or you may lose protections, including the benefit of the automatic stay.
                                              You must list all your property and debts in the schedules that you are required to file with the
                                              court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that del'1t
                                              in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                              property or properly claim it as exempt, you may not be able to keep the property. The judge c,rn
                                              also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                              case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                              cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                              Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                              If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                              hired an attorney. The court will not treat you differently because you are filing for yourseif. To be
                                              successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                              Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                              be familiar with any state exemption laws that apply.

                                              Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                              consequences?
                                              □ No
                                              la2I Yes
                                              Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                              inaccurate or incomplete, you could be fined or imprisoned?
                                              □ No
                                              � Yes
                                              Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy fc,1•1,,­
                                              D    No
                                              la2I Yes. Name of Person MA'AT Business Consultants & Paralegals                                    . __
                                                        Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119)


                                              By signing here, I acknowledge that I understand the risks involved in filing without an attorney.
                                              have read and understoo his notice, and I am aware that filing a bankruptcy case without an
                                              attorney may ca se me t �.. ose my rights or property if I do not properly handle the case.
                                                                 f       /
                                                    /\                 / /,
                                          X        ! '          ./
                                                                 /


                                                           /
                                                                         ·�                          X ------------ -
                                                                                                                    -
                                                                                                          Signature of Debtor 2

                                                                                                          Date
                                                                                                                           MM/ DD /YYYY

                                                                                                          Contact phone

                                          Cell phone                                                      Cell phone

                                              Email address                                               Email address



 , •ti1cial Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                pii()l' 8
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  Fill in this information to identify your case:

  Debtor 1             Charlene                                M                          Davis
                        First Name                         Middle Name                     Last Name

     Debtor 2
 (Spouse, � filing) First Name                            Middle Name                      Last Name


     United States Bankruptcy Court for the: Southern District of Ohio

  Case number                                                                                                                                                                    □ Check if this is an
                        (If known)
                                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


•ifI               Summarize Your Assets


                                                                                                                                                                             Your assets
                                                                                                                                                                             Value of what you own
1. Schedule AIB: Property (Official Form 106NB)
   1a. Copy line 55, Total real estate, from Schedule AIB ..........................................................................................................             $   ------
                                                                                                                                                                                         0.00


      1b.    Copy line 62, Total personal property, from Schedule A/8 ...............................................................................................            $ __7�,8_ 1_4._00_


       1c.   Copy line 63, Total of all property on Schedule AIB .........................................................................................................       $ __7 _ ,8_1_4._0_0


fiii               Summarize Your Liabilities



                                                                                                                                                                             Your liabilities
                                                                                                                                                                             Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                               $      17, 000.00

3.    Schedule EIF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                 $              0.00
      3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EIF ............................................

      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule EJF .......................................
                                                                                                                                                                             +   $      16,875.00


                                                                                                                                            Your total liabilities               $
                                                                                                                                                                                        33,875.00



!ifi               Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 1061)
      Copy your combined monthly income from line 12 of Schedule 1 ..........................................................................................
                                                                                                                                                                                     1, 134.34
                                                                                                                                                                                 $ ------


5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                   $ __1_,5_8 1
                                                                                                                                                                                            _ .0
                                                                                                                                                                                               _ 0_




Official Form 106Sum                                     Summary of Your Assets and Liabilities and Certain Statistical Information                                                   page 1 of 2
           Case 1:18-bk-13319                      Doc 1            Filed 09/04/18 Entered 09/04/18 11:44:02                                Desc Main
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   Debtor 1          Charlene                      M                     Davis                           Case number (1/known)______ ________
                      First Name     Middle Name        Last Name




                     Answer These Questions for Administrative and Statistical Records

    6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

          □ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          liZi Yes
   7.    What kind of debt do you have?

         liZI Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
              family, or household purpose."11 U. S.C. § 101 (8). Fill out lines 8 -9g for statistical purposes. 28 U. S.C. § 159.

         □ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   a. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form122A-1 Line11; OR, Form122B Line11; OR, Form122C-1 Line14.                                                                         $_�1,_29_ _
                                                                                                                                                       2 o
                                                                                                                                                         . o
                                                                                                                                                           _




   s. Copy the following special categories of claims from Part 4, line 6 of Schedule EIF:


                                                                                                                Total claim


           From Part 4 on Schedule EIF, copy the following:


         9a. Domestic support obligations (Copy line6a.)                                                        $                    0.00

         9b. Taxes and certain other debts you owe the government. (Copy line6b.)                               $                    0.00

         9c. Claims for death or personal injury while you were intoxicated. (Copy line6c.)                     $                    0.00

         9d. Student loans. (Copy line6f.)                                                                      $                    0.00

         9e. Obligations arising out of a separation agreement or divorce that you did not report as            $                    0.00
             priority claims. (Copy line 69.)

         9f. Debts to pension or profit- sharing plans, and other similar debts. (Copy line6h.)               +$                     0.00

         9g. Total. Add lines9a through9f.                                                                      $                    0.00




Official Form106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                                         page 2 of2
           Case 1:18-bk-13319                          Doc 1            Filed 09/04/18 Entered 09/04/18 11:44:02                              Desc Main
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Fill in this information to identify your case and this filing:


Debtor 1              Charlene                         M                     Davis
                      First Name                   Middte Name                M-Cast Nan1e

Debtor 2
(Spouse, if filing)   First Name                   Middle Name                  Last !\lame


United States Bankruptcy Court for the: Southern District of Ohio

Case number
                                                                                                                                                   D Check if this is an
                                                                                                                                                      amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

                Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    liZI   No. Go to Part 2.
    D      Yes. Where is the property?
                                                                         What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                         D Single-family home                              the amount of any secured claims on Schedule D:
      1.1.
              Street address, if available, or other description
                                                                         D Duplex or multi-unit building
                                                                                                                           Creditors Who Have Claims Secured by Property.

                                                                         D Condominium or cooperative                      Current value of the      Current value of the
                                                                         D Manufactured or mobile home                     entire property?          portion you own?
                                                                         D Land                                            $_______                  $______
                                                                         0 Ir.vestment proparty
              City                             State       ZIP .::ode
                                                                         D Ti1111:snaro                                    Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                         D Other                                           the entireties, or a life estate), if known.
                                                                         Who has an interest in the property? Check one.
                                                                         D Debtor 1 only
              County                                                     D Debtor 2 only
                                                                         D Deb,or 1 zr·d Debtor 2 only                     D Check if this is community property
                                                                                                                              (see instructions)
                                                                         D At l.;a�t one of tile debtors and another
                                                                         Other information you wish to add about this item, such as local
                                                                         property identification number: _______________
    If you own or have more than one, list here·
                                                                        llllhat is the property? Check all that apply.
                                                                                                                           Do not deduct secured claims or exemptions. Put
                                                                        0 Sing!e-fam,ly home                               the amount of any secured claims on Schedule D:
      1.2.    ----------- ..---·----
              Street address, if available. or oth< r desc,ipt;cn
                                                                        0 Duplex or ;1w1ti-unit uuilding                   Creditors Who Have Claims Secured by Property.

                                                                        D Ca,1t1ominium or cooperative                     Current value of the      Current value of the
                                                                        0 Ma,1ut3ctured or mob;le home                     entire property?          portion you own?
                                                                        D Land                                             $_______                  $________
                                                                        0 :nvestrnent prooeny

             City
                                                                        D Timestiaro                                       Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                        0 Ott1.,,; ----------·------------- ----­          the entireties, or a life estate), if known.
                                                                        Who has an inter'3st in the property? Check one.
                                                                        □ Debt0r : cnl/
              County                                                    LJ DabtC-i 2 only
                                                                        0 Der.tr,, , amJ Deb,or ,- ,:,nly                  D Check if this is community property
                                                                        CJ ,V le11.;t c111� of the debto,s and another        (see instructions)

                                                                        Othl.:r i111orm;;.tion you wish to add about this item, such as local
                                                                        propert!' 1cie,1Ufication number: _______________


Official Form 106A/B                                                                                                                                        page 1
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 Debtor 1            Charlene                         M                      Davis                              Case number (if known)______________
                     First Name     Middle Name             last Name




                                                                        Wha,: is the i:roperty? Che::k all that apply.     Do not deduct secured claims or exemptions. Put
                                                                        D                                                  the amount of any secured claims on Schedule D:

                                                                        □
                                                                            Single-family home
      1.3.                                                                                                                 Creditors Who Have Claims Secured by Property.
              Street address, if available, or other description            Duplex or multi-unit building
                                                                        D   Condominium or cooperative                     Current value of the
                                                                                                                           entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
                                                                        D   Manufactured or mobile home
                                                                        D   Land                                           $_______                 $_______
                                                                        D    Investment property
              City                            State       ZIP Code      D   Timeshare
                                                                                                                           Describe the nature of your ownership
                                                                                                                           interest (such as fee simple, tenancy by
                                                                        D   Other _____________                            the entireties, or a life estate), if known.
                                                                        Who tias an interest in the property? Check one.
                                                                        D Debtor 1 only
              County
                                                                        D Debtor 2 only
                                                                        D Debtor 1 and Debtor 2 only                       D Check if this is community property
                                                                        D At least one of the debtors and another              (see instructions)

                                                                        Other information you wish to add about this item, such as local
                                                                        property i_dentification number: ______________




•@fj           Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.   Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     □ No
     lif Yes
     3.1.     Make:                        Honda                        Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put

              Model:                       Accord                       liZI Debtor 1 only                                 the amount of any secured claims on Schedule D:
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                           2013                         D Debtor 2 only
              Year:
                                                                        D Debtor 1 and Debtor 2 only                       Current value of the      Current value of the
              Approximate mileage:         54,000                       D At least one of the debtors and another
                                                                                                                           entire property?          portion you own?

              Other information:
                                                                                                                                     9,000.00            3,804.00
                                                                        D Check if this is community property (see         $                         $-------
                                                                            instructions)



     If you own or have more than one, describe here:

     3. 2.    Make:                                                     Who has an interest in the property? Check one.    Do not deduct secured claims or exemptions. Put

              Model:                                                    D Debtor 1 only                                    the amount of any secured claims on Schedule D:
                                                                                                                           Creditors Who Have Claims Secured by Property.
                                                                        D Debtor 2 only
              Year:
                                                                        D Debtor 1 and Debtor 2 only                       Current value of the     Current value of the
              Approximate mileage:                                      □   At least one of the debtors and another
                                                                                                                           entire property?         portion you own?

              Other information:
              ,--------------                                           D Check if this is community property (see         $_______                 $_______
                                                                            instructions)




Official Form 106A/B                                                     Schedule A/B: Property                                                             page 2
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 Debtor 1       Charlene                       M                   Davis                            Case number (1fknown)_______________
                    First Name   Middle Name       Last Name




    3.3.    Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                 the amount of any secured claims on Schedule D:
            Model:                                             D Debtor 1 only                                   CreditOIS Who Have Claims Secured by Property.
                                                               D Debtor 2 only
            Year:
                                                               D Debtor 1 and Debtor 2 only                      Current value of the
                                                                                                                 entire property?
                                                                                                                                           Current value of the
                                                                                                                                           portion you own?
            Approximate mileage:                               D At least one of the debtors and another
            Other information:
                                                               D Check if this is community property (see        $_______                  $.________
                                                                  instructions)


    3.4.    Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
                                                                                                                 the amount of any secured claims on Schedule D:
            Model:                                             D Debtor 1 only                                   Creditors Who Have Claims Secured by Property.
                                                               D Debtor 2 only
            Year:
                                                               D Debtor 1 and Debtor 2 only                      Current value of the
                                                                                                                 entire property?
                                                                                                                                           Current value of the
                                                                                                                                           portion you own?
            Approximate mileage:                               D At least one of the debtors and another
            Other information:
                                                               D Check if this is community property (see        $_______                  $_______
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   .Zi No
   D Yes


    4.1.    Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
            Model:                                             D Debtor 1 only                                   the amount of any secured claims on Schedule D:
                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                               D Debtor 2 only
            Year:
                                                               D Debtor 1 and Debtor 2 only                      Current value of the      Current value of the
            Other information:                                 D At least one of the debtors and another         entire property?          portion you own?

                                                               D Check if this is community property (see        $ _______                 $._______
                                                                 instructions)



   If you own or have more than one, list here:

    4.2.    Make:                                              Who has an interest in the property? Check one.   Do not deduct secured claims or exemptions. Put
            Model:                                             D Debtor 1 only                                   the amount of any secured claims on Schedule D:
                                                                                                                 Creditors Who Have Claims Secured by Property.
            Year:
                                                               D Debtor 2 only
                                                               D Debtor 1 and Debtor 2 only                      Current value of the
                                                                                                                 entire property?
                                                                                                                                          Current value of the
                                                                                                                                          portion you own?
            Other information:                                 D At least one of the debtors and another
                                                                                                                 $ ________               $. _______
                                                               D Check if this is community property (see
                                                                 instructions)




s. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                   -  3 , _a o 4 .o o
   you have attached for Part 2. Write that number here                                                                            + �-___.:_ _ _ _




Official Form 106A/B                                            Schedule A/B: Property                                                            page 3
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 Debtor 1          Charlene
                   -----------             M                                                                           Case number (1fknown)_______________
                    First r�ame Middb Name             Last NAme:-




•iii            Describe Your Personal and Hous� :����
                                                .      -.. -··---­

Do you own or have any legal or equitable interest in any uf th'.l tol!owing items?
                                                                                                                                                                              Current value of the
                                                                                                                                                                              portion you own?
                                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                                              or exemptions.

6. Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
     □ No
     liZI Yes. Describe.........        Sofa, kitchenware, towels and linen                                                                                                         1,_50_0 _.o_o
                                                                                                                                                                               $.____

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
               collections; electronic devices including cell phones, cameras, media players, games
     □ No
     liZI Yes. Describe.                                                                                                                                                            ao_o_.o_o
                                                                                                                                                                               $____

a. Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
               stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
     !;a No
     D Yes. Describe..........:                                                                                                                                                $._________
                                      L~
9. Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equiprnEi°nt; b1cycies, pool tables, golf clubs, skis; canoes
               and kayaks; carpentry tools; musical insllument:,
     !;a No
     D Yes. Describe.                                                                                                                                                          $_________

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related quipmP.nl
     !;a No
     D Yes. Describe.                                                                                                                                                         i $._________
11.Clothes
     Examples: Everyday clothes, furs, leather coats, designer wear, stioGs, acces!iories
     □    No
     liZI Yes. Describe.                                                                                                                                                              1,200.00
                                                                                                                                                                               $·------'-----


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedd1nq rings, heirloom jewelry, watches, gems,
               gold, silver
     □
                                                                                                                                                                                _______   _
          No
     liZI Yes. Describe..........J                                                                                                                                             $.    500.00
                                      '··Everd ayJewe
                                                  .   1ry -�
13. Non-farm animals
     Examples: Dogs, cats. birds, horses
     !;a No
     D Yes. Describe... ..... ,                                                                                                                                                $________

14. Any other personal and household ittims you did not already Hst, including any health aids you did not list

     !;a No
     D Yes. Give. specific i
         .                                                                                                                                                                     $________
         1n format1on. ............. 1 ..

1s. Add the dollar value of all of your entries from Part 3, inciµding any entries for pages you have attached
                                                                                                                                                                                             _,_4.,_,,0=00=·-=-0:_0
     for Part 3. Write that number here                                                                .. . .... . . ... . . ...............   .......................   -+    $___




Official Form 106A/B                                                  Sc�t:d..Jh, J.11:l:: Pto�erl.y                                                                                       page4
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 Debtor 1           Charlene                             M                        Davis                 Case number (1fknown)______________
                      First Name          MiddlP. Name          Last N':lme




•iii            Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured claims
                                                                                                                                    or exemptions.

16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   � No
   D      Yes .........................                                                                         Cash:                $__ ______



17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.
   □ No
   � Yes .................... .                                                 Institution name:


                                          17.1. Checking account:               Cinfed Credit Union                                  $_____5_.0
                                                                                                                                              _ 0_
                                          17.2. Checking account:                                                                    $________
                                          17.3. Savings account:                Cinfed Credit Union                                  $·--------
                                                                                                                                                        5.00
                                          17.4. Savings account:                                                                     $_______               _
                                          17.5. Certificates of deposit:                                                             $_______

                                          17.6. Other financial account:                                                             $________

                                          17.7. Other financial account:
                                                                                                                                     $________
                                          17.8. Other financial account:                                                             $_______

                                          17.9. Other financial account:
                                                                                                                                     $________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   fiZI No
   D Yes ..                               Institution or issuer name:

                                                                                                                                     $________
                                                                                                                                     $________
                                                                                                                                     $________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   liZI   No                              Name of entity:                                                      % of ownership:
   D Yes. Give specific                                                                                         0%         %
          information about                                                                                                          $
          them..........                                                                                        0%         %         $
                                                                                                                0%         %         $




Official Form 106A/B                                                           Schedule A/B: Property                                            page 5
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 Debtor 1         Charlene                     M                     Davis                      Case number (if known)_______________
                  First Name   Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   liZI No
   D Yes. Give specific        Issuer name:
        information about
        them..                                                                                                                     $_ _ _ _ ____

                                                                                                                                   $ ______
                                                                                                                                              _
                                                                                                                                   $ ____ __ __


21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

   liZI No
   D   Yes. List each
       account separately. Type of account:              Institution name:

                               401(k} or similar plan: ___________________________                                                 $_________

                               Pension plan:             ___________________________                                               $ _________

                               IRA:                      __________________________                                                $ _______ _
                               Retirement account:       ___________________________                                               $ _________

                               Keogh:                    ___________________________                                               $_________

                               Additional account:      ____________________________                                               $ _________
                               Additional account:       ___________________________                                               $_________


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

   □ No
   0 Yes ....                                        Institution name or individual:
                               Electric:
                                                                                                                                   $. _ _______
                               Gas:
                                                                                                                                   $___   _____
                               Heating oil:
                                                                                                                                   $________
                               Security deposit on rental unit: _________________________
                                                                                                                                   $ _________
                               Prepaid rent:
                                                                                                                                   $_________
                               Telephone:
                                                                                                                                   $ _________
                               Water:
                                                                                                                                   $_________
                               Rented furniture:
                                                                                                                                   $ ___ _____
                               Other:
                                                                                                                                   $ _________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
   liZ] No
   D   Yes ....                Issuer name and description:

                                                                                                                                  $ ________
                                                                                                                                  $ ________
                                                                                                                                  $ ________


Official Fonm 106A/B                                               Schedule A/B: Property                                                 page6
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 Debtor 1           Charlene                            M                        D,:.vi:;                    Sase number (1fknown),_______________
                      First Name                                 l a,;tName




24. Interests       in an education IRA in an account in a qualitt..•:-, ,\Jf_i, �•rngram n,· ,,,·, :i;;r -a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      liZI   No
      D      Yes                               Institution name and desc;ript:or1. Sa:Jarately tilt the records of any interests.11 U.S.C. § 521(c):

                                                                                                                                                       $______ __
                                                                                                                                                       $ _______
                                                                                                                                                       $ _______


25. Trusts,  equitable or future interests in property (other tha11 anything listed in line 1 ), and rights or powers
      exercisable for your benefit
      liZI   No
      D      Yes. Give specific
             information about them                                                                                                                    $._______

26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      liZI   No
      D      Yes. Give specific
             information about them..                                                                                                                  $ ________


27.   Licenses, franchises, and otl"!er general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

      liZI   No
      D      Yes. Give specific
             information about them                                                                                                                    $ _______


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
      liZI   No
      D      Yes. Give specific information                                                                                 Federal:              $ _______
                  about them, including whether
                  you already filed the returns                                                                              State:               $_______
                  and the tax years. .......................
                                                                                                                             Local:               $________



29. Family support
      Examples: Past due or lump sum alimony, spousal support, ct�iict s•rµport, mai11tenance, divorce settlement, property settlement
      liZI   No
                                                             I
      D      Yes. Give specific information             .... !
                                                                                                                           Alimony:                    $________
                                                                                                                            Maintenance:               $________
                                                                                                                            Support:                   $________
                                                                                                                           Divorce settlement:         $________
                                                                                                                           Property settlement:        $________

30.   Other amounts someone c,wes you
      Examples: Unpaid wages. l1isab1lity insurance paymE:nts, d1sabi1ity benefits, sick pay, vacation pay, workers' compensation,
                Social Security benefits; unp:;:d loans you mdue to someone ::•lse
      liZI   No
      D      Yes. Give specific information...
                                                                                                                                                       $_________




Official Form 106A/B                                                           Sd:cd1JL: A/B: Prol)cmy                                                           page 7
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                      First Name         MiddlE! Name                               Last Nal"le




31    Interests in insurance policies
      Examples: Health, disability, or life insurance; nealth sav1r.gs .,c.;c0unt (HSA); credit, horneowner's, or renter's insurance
      liZI   No
      D      Yes. Name the insurance company             Company name:                                                            Beneficiary:                  Surrender or refund value:
                  of each policy and list its value. ...
                                                                                                                                                                $_______
                                                                                                                                                                $________
                                                                                                                                                                $________

32.   Any interest in property that is due you from someone who t,as died
      If you are the beneficiary of a living trust, expect proceeds · from a life insurance policy, or are currently entitled to receive
      property because someone has died.                                 ·         ·
      � No
      D Yes. Give specific information..
                                                                                                                                                                $________


33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
      Examples: Accidents, employment disputes, insurance claims, or rights to sue
      � No
      D      Yes. Describe each claim ..                . . . . . . . . . . . r··
                                                                              I
                                                                                                                                                                $_________

34. Other contingent               and unliquidated claims of every nature, including counterclaims of the debtor and rights
      to set off claims
      � No
      D Yes. Describe each claim.
                                                                                                                                                                $________




35. Any       financial assets you did not already list
      � No
      D Yes. Give specific information
                                                                                                                                                                $


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here            ....... ....... .                                                                              , ,,,,.,.➔   I $
                                                                                                                                                                                  10.00




•Mil               Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do       you own or have any legal or equitable interest in any business-related property?
      � No. Go to Part 6.
      D      Yes. Go to line 38.
                                                                                                                                                              Current value of the
                                                                                                                                                              portion you own?
                                                                                                                                                              Do not deduct secured claims
                                                                                                                                                              or exemptions.

38. Accounts        receivable or commissions you already earned
      □ No
      D      Yes. Describe ······1
                                     \
                                                                                                                                                              �---------
39.   Office equipment, furnishings, and supplies
      Examples: Business-related computers, sottware, modems, printers, cop1ftrs, fax m;,chmes, rugs, ielephunes, desks, chairs, electronic devices

      □ No
      D      Yes. Describe..
                                                                                                                                                              �-------

 Official Form 106A/B                                                                              Sch�dulo.. A/B: Pr•:>j)erty                                             pages
       Case 1:18-bk-13319                      Doc 1            Filed 09/04/18 Entered 09/04/18 11:44:02                              Desc Main
                                                                Document Page 19 of 60
 Debtor 1        Charlene                      M                                                Case number (1fknown)_______________
                   First Name    Middle Name        Last Name




40. Machinery, fixtures, equipment, supplies you use in bu;;i,ws�, anci tools of your trade

   □ No
   D   Yes. Describe ....
                                                                                                                                      ;$_________

41. Inventory
   □    No                       ---·········-·-·- ---·-···
     D Yes. Describe..                                                                                                                �---------
                                                                                                                         ____ ,J


42. Interests in partnerships or joint ventures
   □ No
   D   Yes. Describe ....... Name of entity:                                                                    % of ownership:
                                                                                                                ___ %                 $________               _
                                                                                                                ___ %                 $_________
                                                                                                                ___%                  $_________

43. Customer lists, mailing lists, or other compilations
   □   No
    D Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
               □ No
               D     Yes. Describe..
                                                                                                                                       $________


44. Any business-related property you did not already list•
   □   No
    D Yes. Give specific
       information .........                                                                                                           $_________

                                                                                                                                       $________
                                                                                                                                       $________
                                                                                                                                       $________
                                                                                                                                       $________

                                                                                                                                      .---$=============------_,
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here .. .................                                                  . . .............   -+   I �________
                                                                                                                                        ---------
                                                                                                                                      .._                       __.



               Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
               If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any far,n- or commercial fishing-related property?
   lif No. Go to Part 7.
   D Yes. Go to line 47.
                                                                                                                                      Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured ciaims
                                                                                                                                      or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
   □ No
   D   Yes ..................

                                                                                                                                        $________



Official Form 106A/B                                             Sch&dute A/B: Property                                                            page 9
            Case 1:18-bk-13319                        Doc 1              Filed 09/04/18 Entered 09/04/18 11:44:02                                          Desc Main
                                                                         Document Page 20 of 60
 Debtor 1           Charlene                         M                       L,r,,vi�                            Case number (1fknown),______________
                      First Name   Midcie Nam-• ----,-L'.1st IJ3,·'.le




48. Crops-either growing or harvested
     □ No
     D Yes. Give specific
       information.                                                                                                                                          .
                                                                                                                                                            $________

49. Farm and fishing equipment, implements, machinery, riJCk,i ;1-1, irnd tool$ cf trade
     □ No
     D      Yes
                                                                                                                                                            $ ________

50. Farm and fishing supplies, chemicals, and feed
     □ No
     D      Yes ........
                                                                                                                                                            $ ________

51.Any farm- and commercial fishing-related property you did not already list
     □ No
     D      Yes. Give specific
            information..                                                                                                                                   $ ________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
    for Part 6. Write that number here__                                                              .. . ..............                     . ...   -+    $ ________




                   Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not alre:idy tist?
     Examples: Season tickets, country club me,mbership

     liZI   No
     D      Yes. Give specific ;                                                                                                                             $ _______
            information..                                                                                                                                    $._______
                                                                                                                                                             $_______


54. Add the dollar value of all of your entries from Part 7. Write that number here __ __                                                                    $ _______




•ifI               List the Totals of Each Part of this f1,rm

                                                                                                                                                                         . oo
                                                                                                                                                            $.____o
55. Part 1: Total real estate, line 2 ...                                                                                                      _____ �
                                                                                                                                                                        ___
                                                                                          $____ 3, 804 . 00
56   Part 2: Total vehicles, line 5                                                                 .
                                                                                          $         4 , 000 . 00
57. Part 3: Total personal and household items, line 15                                    ___
58. Part 4: Total financial assets, line 36                                               $_______       !�-��
59. Part 5: Total business-1·elated prnp&rt�. line 45                                     $ ______      �E_
                                                                                                           0 .00
so. Part 6: Total farm- and fishing-related property, li11& 52                            $___
                                   . .
61   Part 7: Total other property not listed, line� -                                   + $ -----------��o .
62. Total personal property. f\d,J 1ir1es 56 through 61.                                    . ----·-----!
                                                                                          ,•"······-· l, B14 -DO !C.opy personaI property totaI ..31,,.           7 , 8_
                                                                                                                                                           + $.____    14  00_
                                                                                                                                                ""7                      _·_



63. Total     of all property on ScheduloJ A/B. Adri line 55 + line 62 .......                                                                                      7, 81 4. 00
                                                                                                                                                            $- - -
                                                                                                                                                                 ----



 Official Form 106A/B                                                     Sciu,t...ti€, A!B: Prnperty                                                               page 10
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 Fill in this information to identify your case.

  Debtor 1           Charlene                  M.                     Davis
                      First Name             Middle Name               Last Name

  Debtor2
  (Spouse, if filing) First Name             Middle Name               Last Name


 United States Bankruptcy Court for the: Southern District of Ohio

 Case number
 (If known)
                                                                                                                                        D Check if this is an
                                                                                                                                           amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                         04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule AIB: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


■   §fI           Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       � You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       0 You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule AIB that you claim as exempt, fill in the information below.


        Brief description of the property and line on      Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
        Schedule AIB that lists this property              portion you own
                                                           Copy the value from     Check only one box for each exemption.
                                                           Schedule AIB

       Brief                                                                                                                2329.66(A)(2) ORC
       description:            Honda Accord 2013           $3,804.00               0$ ____
       Line from                                                                   liZI 100% of fair market value, up to
       Schedule AIB:           3                                                      any applicable statutory limit

      Brief
      description:             Household Furnisbio         $1,500.00               0$ _____                                 2329.66(A)(4)(a) ORC
       Line from                                                                   -ZI 100% of fair market value, up to
       Schedule A/8:                                                                  any applicable statutory limit

      Brief
      description:             Electronics                 $ 800.00                0$ ____                                  2329.66(A)(4)(a) ORC
      Line from                                                                    l;zl 100% of fair market value, up to
      Schedule A/8:                                                                     any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      � No
      0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
           � No
           0 Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                         page 1 of_
      Case 1:18-bk-13319                      Doc 1            Filed 09/04/18 Entered 09/04/18 11:44:02                            Desc Main
                                                               Document Page 22 of 60
Debtor 1       Charlene                       M.                      Davis                      Case number (1fknown)_____________
                                                                                                                      ,            _
              First Name        Middle Name        Last Name




•Mil         Additional Page

      Brief description of the property and line           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      on Schedule A/B that lists this property             portion you own
                                                           Copy the value from    Check only one box for each exemption
                                                           Schedule AIB

     Brief                                                                                                                2329.66(A)(4)(a) ORC
     description:
                           Clothing                        $         1,200.00     O $ -----
     Line from             11                                                     � 100% of fair market value, up to
     Schedule AIB:                                                                  any applicable statutory limit

     Brief                                                                                                                2329.66(A)(4)(a) ORC
     description:          Jewelry                         $__-=5=0=0=.0�0        0$ ____
     Line from                                                                    � 100% of fair market value, up to
     Schedule AJB:
                           12                                                       any applicable statutory limit


     Brief                 Deposits of Money                    10.00             0$ ____                                 2329.66(A)(3) ORC
     description:                                          $-------
      Line from            17
                                                                                  Ga' 100% of fair market value, up to
      Schedule AJB:                                                                  any applicable statutory limit

     Brief
     description:                                          $,______ 0$ _ ___
                                                                                  0 100% af fair market value, up to
      Line from
      Schedule AIB:                                                                 any applicable statutory limit

     Brief
     description:                                          $_______ 0$ ____
      Line from                                                                   0 100% af fair market value, up to
      Schedule A/8:                                                                 any applicable statutory limit


     Brief
                                                           $_______               0$ ____
     description:
      Line from                                                                   0 100% of fair market value, up to
      Schedule AJB:                                                                 any applicable statutory limit

      Brief
                                                           $_______               0$ ____
      description:
      Line from                                                                   0 100% of fair market value, up to
      Schedule AJB:                                                                 any applicable statutory limit

      Brief
      description:                                         $_______               0$ ____
      Line from                                                                   0 100% of fair market value, up to
      Schedule AJB:                                                                 any applicable statutory limit


     Brief
     description:                                          $._______              0$ _ ___
     Line from                                                                    0 100% of fair market value, up to
     Schedule AJB:                                                                  any applicable statutory limit

     Brief
                                                           $.______               0$ ____
     description:
     Line from                                                                    0 100% of fair market value, up to
     Schedule A/8:                                                                  any applicable statutory limit

     Brief
     description:                                          $______                0$ ____
     Line from                                                                    0 100% of fair market value, up to
     Schedule AIB:                                                                  any applicable statutory limit


     Brief
     description:                                          $.______               0$ ____
     Line from                                                                    0 100% of fair market value, up to
     Schedule AIB:                                                                  any applicable statutory limit


Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                      pagel.._of_
               Case 1:18-bk-13319                            Doc 1            Filed 09/04/18 Entered 09/04/18 11:44:02                                                         Desc Main
                                                                              Document Page 23 of 60

    Fill in this information to identify your case:

    Debtor 1           Charlene                              M                             Davis
                        First Name                       Middle Name                      Last Name

    Debtor2
    (Spouse, if filing) First Name                       Middle Name                      Last Name


    United States Bankruptcy Court for the: Southern District of Ohio

    Case number
    (If known)                                                                                                                                                                     D Check if this is an
                                                                                                                                                                                        amended filing

   Official Form 106D
   Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                                            12/15
   Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
   information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
   additional pages, write your name and case number (if known).

  1. Do any creditors have claims secured by your property?
       D       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       �Yes.Fill in all of the information below.



•¥fifl             List All Secured Claims
                                                                                                                                                                     ... ColumnB                     CotunmC
  2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately A�nt�_clalm                                                   v•ot COilaterai              Uneecute(t
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
                                                                                                           00 notueouct the                                             thlitst,pport.sthis          portion
     As much as possible, list the claims in alphabetical order according to the creditor's name.          yalue of coi�I.                                               claim                       If any

µJl Honda Financial Services of Am                                 Oescribe the property that secures the claim:                             $
                                                                                                                                                     17,000.00 s                   9,000.00 s 3,804.00
        Creditor's Name
         P. 0. Box 5308                                           2013 Honda Accord Sport
        Number            Street
                                                                   As   of th e date   yo u fil e, the cl a im is : Check all that apply.
                                                                   D Contingent
         Elgin                             IL      60121           D Unliquidated
        City                              State   ZIP Code         D Disputed
     Who owes the         debt?      Check one.                    N ature o f lien . Check all that apply.
     rJ Debtor 1 only                                              rJ An agreement you made (such as mortgage or secured
     D Debtor2 only                                                  car loan)
     D Debtor 1 and Debtor2 only                                   D Statutory lien (such as tax lien, mechanic's lien)
     D At least one of the debtors and another                     D Judgment lien from a lawsuit
                                                                                             D Other (including a right to offset) ________
      D Check if this claim relates to a
             com munity debt
}-,'  D ate debt was i ncur�;;                                                                              4 di its o f a cc ou nt number
     �;: :.:::..: :.::::: :..; :.:; :.; ;.; :;.: ::.:.: :.: ::.... _9_1_1_-=
                                                                          1 /= =2=- -1 __...;L:.:a::s:.:..t .:.
                                                                  0          0     0
                                                                                                                .: ::.; g�=..;:::. .:: :::; :.; ;.: :.:; :.:.. .:.: :.: � :::; � =----7
                                                                                                                                                                                      =-_8
                                                                                                                                                                                0
                                                                                                                                                                                         =-=5=---------------------,�
                                                       red


pi]    Creditor's Name
                                                                                             D escri be t h e property that secures t h e cl a im:                                               $_______ $______ $_____



       Number             Street
                                                                  As o f th e   date   you fi l e, t h e c laim is : Check all that apply.
                                                                   D Contingent
                                                                   D    Unliquidated
       City                               State   ZIP Code         D Disputed
     Who owes the         debt?      Check one.                    N atu r e of lien. Check all that apply.
     D Debtor 1 only                                               D An agreement you made (such as mortgage or secured
     D Debtor2 only                                                  car loan)
     D Debtor 1 and Debtor 2 only                                  D Statutory lien (such as tax lien, mechanic's lien)
     D At least one of the debtors and another                     D Judgment lien from a lawsuit
                                                                   D Other (including a right to offset) ________
     D Chec k if this cl ai m         rel ates to a
       c ommu nity debt

     D ate debt was i ncu rred                                    Last 4 di     its o f a ccount number
        Add the dollar value of your entries in Column A on this page. Write that number here:                                                       17,000 00
   Official Form 106D                                     Schedule D: Creditors Who Have Claims Secured by Property                                                                       page 1 of�
             Case 1:18-bk-13319                         Doc 1           Filed 09/04/18 Entered 09/04/18 11:44:02                                      Desc Main
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   Debtor1         Charlene                             M                       Davis                          Case number (if known)_______________




                                                                                                                                                  -t:i:.:.==
                    First Name      Middle Name             Last Name



                Additional Page                                                                                            CofumtJA               ·eo1umn8        CohJmnC



              �---------------------------
                                                                                                                           Amountof�m                             Uneeeured
                After listing any entries on this page, number them beginning with 2.3, followed                           00 not deduct the'                     portion
                by 2.4, and so forth.                                                                                      value of collateral.   claim           If any

                                                            Describe the property that secures the claim:                  $._______ $._______ $. _____
      Creditor's Name


      Number            Street


                                                            As of the date you file, the claim is: Check all that apply.
                                                            0 Contingent
      City                          State    ZIP Code       0 Unliquidated
                                                            0 Disputed
    Who owes the debt? Check one.                           Nature of lien. Check all that apply.
    0 Debtor 1 only                                         0 An agreement you made (such as mortgage or secured
    0 Debtor 2 only                                           car loan)
    0 Debtor 1 and Debtor 2 only                            0 Statutory lien (such as tax lien, mechanic's lien)
    0 At least one of the debtors and another               0 Judgment lien from a lawsuit
                                                            0 Other (including a right to offset) ________
    0 Check if this claim relates to a
      community debt
                                                                                        be
    Date debt was incurred _____                            Last 4 digits of account num r____


O____ Creditor's Name
                                                            Describe the property that secures the claim:
                                                            ----------------------,
                                                                                                                           $
                                                                                                                            _______ $. _______ $._____


      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            0   Contingent
                                                            0 Unliquidated
      City                          State    ZIP Code
                                                            0   Disputed
    Who owes the debt? Check one.
                                                            Nature of lien. Check all that apply.
    0 Debtor 1 only
                                                            0 An agreement you made (such as mortgage or secured
    0 Debtor 2 only                                           car loan)
    0     Debtor 1 and Debtor 2 only                        0 Statutory lien (such as tax lien, mechanic's lien)
    0     At least one of the debtors and another           0   Judgment lien from a lawsuit

    0 Check if this claim relates to a
                                                            0   Other (including a right to offset) ________




�b-....
      community debt

    Date debt was incurred _____    Last 4 digits of account number___ _
      -----------             · ---�
                                                                        =           =
                                                                                             -
                                      = = = = - be_ _ _ _ = = = -= � � : - = = = = : = = = =   =•
      ----------------
      Creditor's Name
                                     Descri the property t at ecures tl claim:                                             $_______ $_______ $,_____



      Number            Street


                                                            As of the date you file, the claim is: Check all that apply.
                                                            0   Contingent
      City                          State    ZIP Code       0   Unliquidated
                                                            0 Disputed
    Who owes the debt? Check one.                           Nature of lien. Check all that apply.
    0 Debtor 1 only                                         0 An agreement you made (such as mortgage or secured
    0 Debtor 2 only                                           car loan)
    0 Debtor 1 and Debtor 2 only                            0 Statutory lien (such as tax lien, mechanic's lien)
    0 At least one of the debtors and another               0 Judgment lien from a lawsuit
                                                            0 Other (including a right to offset) ________
    0 Check if this claim relates to a
      community debt

    Date debt was incurred _____                            Last 4 digits of account number____

             Add the dollar value of your entries in Column A on this page. Write that number here: $

                If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                                           l======l
                                                                                                                           $
                                                                                                                               17,000.00
                                                                                                                               17,000.00
        . . ....Write that n11mbe.r.. he.re.:

  Official Form 106D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page � of�
       Case 1:18-bk-13319                    Doc 1           Filed 09/04/18 Entered 09/04/18 11:44:02                             Desc Main
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Debtor 1        Charlene                     M                    Davis                        Case number (1fknown),_______________
                First Name    Middle Name        Last Name


•@fM List Others to BeNotified of r a Debt That You__Al_ _ re_ a_ _d.;.yL_ i_ _st_ e_ d_ ________________________
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
 you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
 be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                          On which line in Part 1 did you enter the creditor? __
      Name                                                                                Last 4 digits of account number____

      Number         Street




□
      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? __
      Name                                                                                Last 4 digits of account number____

      Number         Street




□
      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? __
       Name                                                                               Last 4 digits of account number ____

       Number        Street




□
      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? __
       Name                                                                               Last 4 digits of account number __Q_ _J_ J!_ -2_

       Number        Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor? __
      Name                                                                                Last 4 digits of account number____

      Number         Street




□
      City                                         State          ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor? __
      Name                                                                                Last 4 digits of account number___ _

      Number         Street




      City                                          State         ZIP Code



Official Form 106D                          Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                            page;L_otl___
        Case 1:18-bk-13319                        Doc 1         Filed 09/04/18 Entered 09/04/18 11:44:02                                Desc Main
                                                                Document Page 26 of 60
· Fill in this information to identify your case:

                       Charlene                         M                Davis
                        First Name                Middle Name             Last Name

  Debtor 2
  t:...,pouse, 1f f11fng) First Name              Middle Name             Last Name


  u r,,ted   States Bankruptcy Court for the: _____ District of _____
                                                                                                                                          D   Check 1f Hi,s ,.
  Case number                                                                                                                                 amended !1 1;1:t'


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                          12/!S

6a ;;is complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY c laim,,
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
AJB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include an,
crnditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top c'
any additional pages, write your name and case number (if known).

                    List All of Your PRIORITY Unsecured Claims

     Do any creditors have priority unsecured claims against you?
     � No. Go to Part 2.
   D Yes.
2. List all of your prtorfty unsecured claims. If a creditor has morethani:>nepriority unsecured claim, list the creditor separately for eact1 r:1a;n; '·. ,
   each claim listed, identify what type of claim it is. If a claim h8$Qoth PflOrity and nonpriQ(ity amounts, list that claim here and show both priority a1�d
   nonpriority amounts. As much as possible, list the claims inalphabetical order according to the creditor's name. If you have more than two p1ioriiy
   unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part :3.
   !For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Priority        Noni;,,,,
                                                                                                                                        amount          arn�YP••

                                                                 Last 4 digits of account number _ _ _ _                       $_____   $_ _ _
                                                                                                                                             _
       ;..:-ri,-)nty Creditor's Name
                                                                 When was the debt incurred?
        i\1.;nner           Street

                                                                 As of the date you file, the claim is: Check all that apply

        ,.:ry                           State     ZIP Code
                                                                 D Contingent
                                                                 D Unliquidated
       Who incurred the debt? Check one.                         D Disputed
       0 Debtor 1 only
       U Debtor 2 only                                           Type of PRIORITY unsecured claim:
       ::J Debtor 1 and Debtor 2 only                            D Domestic support obligations
       U At least one of the debtors and another
                                                                 D Taxes and certain other debts you owe the government
       0 Check if this claim is for a community debt
                                                                 0 Claims for death or personal injury while you were
       Is the claim subject to offset?                             intoxicated
       □ No
                ---------�------------------------------
                                                                 D Other. Specify ______________
       C.I Yes

:::.. :J �-----
       Priority Creditor's Name
                                                                 Last 4 digits of account number _ _ _ _                       $_____ $_ _ _
                                                                                                                                           _
                                                                 When was the debt incurred?
       r�urnber            Street
                                                                 As of the date you file, the claim is: Check all that apply
                                                                 D Contingent
                                       State      ZIP Code       D Unliquidated
       Who incurred the debt? Check one.                         D Disputed
       :J Debtor 1 only
                                                                 Type of PRIORITY unsecured claim:
       .J Debtor 2 only
                                                                 D Domestic support obligations
       U Debtor 1 and Debtor 2 only
                                                                 D Taxes and certain other debts you owe the government
       ,::_i At least one of the debtors and another
                                                                 D Claims for death or personal injury while you were
       ::.J Check if this claim is for a community debt            intoxicated
       Is the claim subject to offset?                           D Other. Specify ______________
       LJ i�o
       � Yes

,Htic1a! Form 106E/F                                      Schedule EIF: Creditors Who Have Unsecured Claims                                     page i   01 _
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                   Cha rlene                        M                            Davis                        Case number (If known)._________                   _ _
                                                                                                                                                                   _ _
                    First Name       Middle Name          Last Name



                   List All of Your NONPRIORITY Unsecured Claims

 s. Do any creditors have nonpriority unsecured claims against y ou?
     i::J No. You have nothing to report in this part. Submit this form to the court with your other schedules.
     � Yes

 4. List all of your nonprlorlty unsecured claims in the alphabetical otderofthe.. cred"Jtorwho holds each claim. If a creditor has more thon o,,.
    nonpriority unsecured claim, list the creditor separately for each claim. For each.claim fisted, Identify what type of claim It is. Do not list claims alre;1d,
    included in Part 1. If more than one creditor holds a particular claim, list the pther creditors in Part 3.lfyou have more than three nonpriority un,H ,;;,,,,
    c:laims fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total cllwn

      Buckle                                                                             Last 4 digits of account number� _1              i�                     $____ _
      \c:·1pnority Creditor's Name
                                                                                         When was the debt incurred?
      P 0. Box 659704
      t•J: 1mber         Street

       San Antonio                                   TX                78265
                                                    State             ZIP Code           As of the date you file, the claim is: Check all that apply.

                                                                                         D   Contingent
      Wilo incurred the debt? Check one.                                                 D    Unliquidated
      Jl Debtor 1 only                                                                   D   Disputed
      lJ    Debtor 2 only
      C..1 Debtor 1 and Debtor 2 only                                                    Type of NONPRIORITY unsecured claim:
      LJ At least one of the debtors and another                                         D   Student loans
      D     Check if this claim is for a community debt                                  D   Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
      is the claim subject to offset?                                                    D   Debts to pension or profit-sharing plans, and other similar debts
      1;£1 No                                                                            liif' Other. Specity _C_re_ d_i_t _C_a_r_d _________
      0     Yes


[J Capita l One
      Nonpriority Creditor's Name
                                                                                         Last 4 digits of account number
                                                                                         When was the debt incurred?
                                                                                                                               _Q _i � �                         $___


      P. 0. Box 6492
      Number             Street
      Carol Stream                                   IL                60197             As of the date you file, the claim is: Check all that apply.
                                                    State             ZIP Code
                                                                                         D   Contingent
      Who incurred the debt? Check one.                                                  D   Unliquidated
      � Debtor 1 only                                                                    D   Disputed

      d     Debtor 2 only
                                                                                         Type of NONPRIORITY unsecured claim:
      Cl    Debtor 1 and Debtor 2 only
      :J At least one of the debtors and another                                         D   Student loans
                                                                                         D   Obligations arising out of a separation agreement or divorce
      :J    Check if this claim is for a community debt                                      that you did not report as priority claims
      .s the claim subject to offset?                                                    D   Debts to pension or profit-sharing plans, and other similar debts
      vJ No                                                                              � Other. Specity _C_re_ d_   i_t _C_ a_ r_d ________
      '.J   Yes

      CSS Payment Processing C enter                                                     Last 4 digits of account number --3. --3. _Q _J_
      i\lorlpnonty Creditor's Name                                                                                                                               $____ _
                                                                                         When was the debt incurred?
      P 0. Box 55126
      i'>lumber         Street
      Boston                                         MA                02205             As of the date you file, the claim is: Check all that apply.
                                                    State             ZIP Code

     Who incurred the debt? Check one.
                                                                                         D   Contingent
                                                                                         D   Unliquidated
      !;;a' Debtor 1 only                                                                D   Disputed
      0 Debtor 2 only
      0 Debtor 1 and Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
      0 At least one of the debtors and another
                                                                                         D   Student loans
      D     Check if this claim is for a community debt                                  D   Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
      !s the claim subject to offset?
                                                                                         D   Debts to pension or profit-sharing plans, and other similar debts
      [J' No
      lJ    Yes
                                                                                         □   Other. Specify _M�e�d�ic=a=l�B�i=II________




· f.ic,ai Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims
          Case 1:18-bk-13319                            Doc 1           Filed 09/04/18 Entered 09/04/18 11:44:02                                        Desc Main
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  D<ebtor 1              Charlene                         M                            Davis                       Case number (if known)_____________
                          First Name      Middle Name           Last Name



                         Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number them beginning with 4,4, followed by 4.5, and so forth.



          _Quke Energy                                                                         Last 4 digits of account number        l l _Q_ _§__                      $
          !\luripnority Creditor's Name
                                                                                               When was the debt incurred?
           F 0. Box 1326
          i-.J11rn!1er         Street
                                                                                               As of the date you file, the claim is: Check all that apply
           Cnarlotte                                       NC                 28201
                                                          State             ZIP Code           D    Contingent
                                                                                               D    Unliquidated
          Who incurred the debt? Check one.                                                    D    Disputed
          D      Debtor 1 only
          D      Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
          D      Debtor 1 and Debtor 2 only
                                                                                               D    Student loans
          D At least one of the debtors and another                                            D   Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
          :J Check if this claim is for a community debt
                                                                                               D   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                      1.21' Other. Specify__U t_il_i ty�--------
          lid No
          D     Yes


:�--;;7
:_·_:_j                                                                                        Last 4 digits of account number _i_ _f._         JL -1._
          Geico Insurance Company
          r\Jonpriority Creditor's Name
                                                                                               When was the debt incurred?
           One Geico Plaza
          i\:1.1rr,ber         Street
                                                                                               As of the date you file, the claim is: Check all that apply.
           Bethesda                                        MD                20811
                                                          State             ZIP Code           D   Contingent
                                                                                               D   Unliquidated
          Who incurred the debt? Check one.                                                    D   Disputed
          0     Debtor 1 only
          :.J Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
          CJ    Debtor 1 and Debtor 2 only
                                                                                               D   Student loans
          J     At least one of the debtors and another
                                                                                               D   Obligations arising out of a separation agreement or divorce that
                                                                                                   you did not report as priority claims
          0     Check if this claim is for a community debt
                                                                                               D   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                      1.21' Other. Specify____________                          _
          lid No
          D     Yes



          Justice Capital One Retail Service                                                   Last 4 digits of account number � _1_ __]_             _1_
          Nonprionty Creditor's Name
                                                                                               When was the debt incurred?
          P 0. Box 4144
          ��urnber            Street
                                                                                               As of the date you file, the claim is: Check all that apply
          Carol Stream                                     IL                60197
                                                          State             ZIP Code           D   Contingent
                                                                                               D   Unliquidated
          Who incurred the debt? Check one.                                                    D   Disputed
          iJ Debtor 1 only
          C] Debtor 2 only                                                                     Type of NONPRIORITY unsecured claim:
          U    Debtor 1 and Debtor 2 only
                                                                                               D   Student loans
          U    At least one of the debtors and another
                                                                                               D   Obligations arising out of a separation agreement or divorce tt1at
                                                                                                   you did not report as priority claims
          � Check if this claim is for a community debt
                                                                                               D   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                      � Other. Specify     Credit Card
          'J' No
          LJ   Yes




: :ftc,;,i ,·orm 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       JJii
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                        Charlene                          M                          Davis                          Case number (ff known)_____________
                         First Name        Middle Name        Last Name


                        List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
          0 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          [.;it Yes

  4. List all of your nonpriority unsecured claims in the alphabetical orderofthecreditorwho holds each claim. If a creditor has more than ,_,.,v
     non priority unsecured claim, list the creditor separately for each ctavn: For each claim listed, identify what type of claim it is. Do not list claims air•.
     included in Part 1. If more than one creditor holds a particular clailTJ,·· list the other creditors in Part 3.lf you have more than three non priority 1.1ns 0,, , "0, •
     claims fill out the Continuation Page of Part 2.

                                                                                                                                                                         Total cla,n:
r---··
,. __7J    Macy DSNB                                                                         Last 4 digits of account number_§_ _Q_ _§_              J!.
           N0npriority Creditor's Name                                                                                                                                 $___
                                                                                             When was the debt incurred?
           P 0. Box 8058
                              Street
            Mason                                          OH              45040
                                                          State           ZIP Code           As of the date you file, the claim is: Check all that apply.

                                                                                             D     Contingent
           Who incurred the debt? Check one.                                                 0     Unliquidated
           � Debtor 1 only                                                                   0 Disputed
           Ll Debtor 2 only
           CJ Debtor 1 and Debtor 2 only                                                     Type of NONPRIORITY unsecured claim:
           W    At least one of the debtors and another                                      0 Student loans
           0 Check if this claim is for a community debt                                     0 Obligations arising out of a separation agreement or divorce
                                                                                               that you did not report as priority claims
           Is the claim subject to offset?                                                   0 Debts to pension or profit-sharing plans, and other similar debts
           ¥1 No
           0 Yes
                                                                                                                   ----------------
                                                                                             � Other. Specify Credit Card



                                                                                             Last 4 digits of account number _§_ _i             _l    _Q               $___._�_.ODO i)(:
                                                                                             When was the debt incurred?
           8211 Town Street
           1\iumber           Street
           Nottingham                                      MD              21236             As of the date you file, the claim is: Check all that apply
                                                          State           ZIP Code
                                                                                             0 Contingent
           Who incurred the debt? Check one.                                                 0 Unliquidated
           Ill Debtor 1 only                                                                 0     Disputed
           0 Debtor 2 only
                                                                                             Type of NONPRIORITY unsecured claim:
           U    Debtor 1 and Debtor 2 only
           :.J At least one of the debtors and another                                       0     Student loans
                                                                                             0 Obligations arising out of a separation agreement or divorce
           CJ Check if this claim is for a community debt                                      that you did not report as priority claims
           !s the claim subject to offset?                                                   0 Debts to pension or profit-sharing plans, and other similar debts
           � No                                                                              � Other. specify Payday Loan
           :I Yes
           Pink Comenity Bank                                                                Last 4 digits of account number         ..Ji   _Q _5 _J_
           c-.Jcinpnonty Creditor's Name
                                                                                             When was the debt incurred?
           P. O.Box 659728
          •-..Jurnoer        Street
           San Antonio                                    TX               78265             As of the date you file, the claim is: Check all that apply.
                                                          State           ZIP Code
                                                                                             0 Contingent
          Who incurred the debt? Check one.
                                                                                             D     Unliquidated
          � Debtor 1 only
                                                                                             0     Disputed
          D    Debtor 2 only
          D    Debtor 1 and Debtor 2 only
                                                                                             Type of NONPRIORITY unsecured claim:
          D    At least one of the debtors and another
                                                                                             0     Student loans
          D    Check if this claim is for a community debt                                   D     Obligations arising out of a separation agreement or divorce
                                                                                                   that you did not report as priority claims
          Is the claim subject to offset?
                                                                                             D     Debts to pension or profit-sharing plans, and other similar debts
                                                                                                   Other. Specify _C�re=d=i�t �C=a�rd�-------
          � No
                                                                                             l;l
          U    Yes



 "1c,.,,i Form 106E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims
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   f�cbtor 1         Charlen e                           M                          Davis                       Case number (1fknown)___
                                                                                                                                     ,   ________
                      First Name        Middle Name          Last Name



                     Your NONPRIORITY Unsecured Claims - Continuation Page


    .4fter listing any entries on this page, number them beginnin� witfl4.4, followed by 4.5, and so forth.                                                            Tota! -:_:l,. 11;,



 ,.·'
          Regen cy Fi n ance Company
                                                                                            Last 4 digits of account number _i_ _i_           JL JL                   s_ 4.ou;;
         l�:-1pnority Creditor's Name
                                                                                            When was the debt incurred?
          9620       Colerai n Ave
         '✓i Fnber         Street
                                                                                            As of the date you file, the claim is: Check all that apply.
          Cincinnati                                      OH               45251
                                                         State            ZIP Code          0    Contingent
                                                                                            0    Unliquidated
         Who incurred the debt? Check one.                                                  0    Disputed
         � Debtor 1 only
         0     Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
         0  Debtor 1 and Debtor 2 only                                                      0   Student loans
         CJ At least one of the debtors and another
                                                                                            0     Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
         D     Check if this claim is for a community debt
                                                                                            0 Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                    1121' Other. Specify Payday Loan
         fiZI' No
         D Yes



         Sprint                                                                             Last 4 digits of account number � �               _1_   _§_                       l r� :
         Nonprionty Creditor's Name
                                                                                            When was the debt incurred?
         P. 0.       Box    629023
         ,✓11inber         Street
                                                                                            As of the date you file, the claim is: Check all that apply.
         E! D orad o Hills                                CA               95762
                                                         State           ZIP Code           0   Contingent
                                                                                            0   Unliquidated
         Who incurred the debt? Check one.                                                  0   Disputed
         J Debtor 1 only
         D     Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
         0 Debtor 1 and Debtor 2 only
                                                                                            0   Student loans
         CJ    At least one of the debtors and another
                                                                                            0     Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
         D     Check if this claim is for a community debt
                                                                                            0 Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                    1121' Other. Specity�  P   �n�e�--------
                                                                                                                    �h�o
         0     No
         0 Yes


[7                                                                                          Last 4 digits of account number       JL _§_ _Q_ _1_
                                                                                                                                                                             8Q4 l:
         Walmart Syn chrony Bank
        Nonpnority Creditor's Name
                                                                                            When was the debt incurred?
         P 0. Box 530927
         Number           Street
                                                                                            As of the date you file, the claim is: Check all that apply
         Atlanta                                          GA              30353
                                                         State           ZIP Code           0   Contingent
                                                                                            0   Unliquidated
        Who incurred the debt? Check one.                                                   0   Disputed
         � Debtor 1 only
         0     Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
         0     Debtor 1 and Debtor 2 only
                                                                                            0   Student loans
         0     At least one of the debtors and another
                                                                                            0 Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
         :::..l Check if this claim is for a community debt
                                                                                            0 Debts to pension or profit-sharing plans, and other similar debts
        ls the claim subject to offset?                                                     � Other. Specity�C�r=e d it�c=a�r=d______
                                                                                                                    = =
         iif No
         lJ    Yes




:jf/;c;al Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims
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                    Charlene                                M                          Davis                        Case number (1fknown)_________
                     First Name          Middle Name            Last Name


                    List All of Your NONPRIORITY Unsecured Claims

  J   Do any creditors have nonpriority unsecured claims against you?
      U No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      � Yes

  4. List all of your nonpriority unsecured claim& ,n the alphabeticalordiH' of the creditor who holds each claim. If a creditor has more than
     nnqpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claim:;
     i1c1L,ded in Part 1. If more than one creditor holds a particular claim, li$t the other creditors in Part 3.lfyou have more than three nonpriority u,
     d,iims fill out the Continuation Page of Part 2.

                                                                                                                                                                           Total cla11n

        Check Smart                                                                            Last 4 digits of account number____
       ;:,(,;:priority Creditor's Name                                                                                                                                 $
                                                                                               When was the debt incurred?
        9234 Colerain Ave
       ,\t.i;nber         Street
        Cincinnati                                           OH              45251
       C�ty                                                 State           ZIP Code           As of the date you file, the claim is: Check all that apply.

                                                                                               D   Contingent
       Who incurred the debt? Check one.                                                       D    Unliquidated
        i;i1   Debtor 1 only                                                                   D    Disputed
        0 Debtor 2 only
        i.::J Debtor 1 and Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
        0 At least one of the debtors and another                                              D   Student loans
       D       Check if this claim is for a community debt                                     D   Obligations arising out of a separation agreement or divorce
                                                                                                   that you did not report as priority claims
       Is the claim subject to offset?                                                         D   Debts to pension or profit-sharing plans, and other similar debts
       0 No                                                                                    □   Other. Specify Payday Loan
       C] Yes


       Cincinnati Bell                                                                         Last 4 digits of account number ____                                    :,_________
       1\Jr;n;:,nonty Creditor's Name                                                          When was the debt incurred?
       P 0. Box 748003
                          Street
       Cincinnati,                                           OH              45274             As of the date you file, the claim is: Check all that apply.
                                                            State           ZIP Code
                                                                                               D   Contingent
       Who incurred the debt? Check one.                                                       D   Unliquidated
       ill Debtor 1 only                                                                       D   Disputed
       ...,J   Debtor 2 only
       i.J Debtor 1 and Debtor 2 only
                                                                                               Type of NONPRIORITY unsecured claim:
       U       1'.\t least one of the debtors and another                                      D   Student loans
                                                                                               D   Obligations arising out of a separation agreement or divorce
       0 Check if this claim is for a community debt                                               that you did not report as priority claims
       is the claim subject to offset?                                                         D   Debts to pension or profit-sharing plans, and other similar debts
       i;1 No                                                                                  � Other. Specify _P_h_o_n_e_B_il_l _________
       Ll Yes
       Ail State                                                                               Last 4 digits of account number ____
       Nonpnority Creditor's Name                                                                                                                                      $_________.._.
                                                                                               When was the debt incurred?
       8950 Colerain Ave
       !\lumber          Street
       Cincinnati                                            OH              45251
                                                                                               As of the date you file, the claim is: Check all that apply.
                                                            State           ZIP Code

       Who incurred the debt? Check one.
                                                                                               D   Contingent
                                                                                               D   Unliquidated
       � Debtor 1 only
                                                                                               D   Disputed
       U Debtor 2 only
       CJ      Debtor 1 and Debtor 2 only
                                                                                               Type of NONPRIORITY unsecured claim:
       :.J Al least one of the debtors and another
                                                                                               D   Student loans
       U       Check if this claim is for a community debt                                     D   Obiigations arising out of a separation agreement or divorce
                                                                                                   that you did not report as priority claims
       I,; the claim subject to offset?
       I� '•O
                                                                                               D   Debts to pension or profit-sharing plans, and other similar debts
                                                                                               � Other. Specify �ln�s�u=r�a�n�c�e�---------
       .] Yes



Oi"l<T';! f-orm 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                                    pags
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                        First Name       Middle Name          Last Name



                       Your NONPRIORITY Unsecured Claims - Continuation Page


  After listing any entries on this page, number� be$,'llnning with 4;4, followed by 4.J, and so forth.                                                                Total cl,,,.,,

r·---1
l. __J   Safe Auto Insurance Company                                                          Last 4 digits of account number ___ _
         Nonpnority Creditor's Name
                                                                                              When was the debt incurred?
         4 Easton Oval
         Number              Street
                                                                                              As of the date you file, the claim is: Check all that apply.
          Columbus                                         OH               43219
         C:ty                                             State            ZIP Code           D   Contingent
                                                                                              D   Unliquidated
         Who incurred the debt? Check one.                                                    D   Disputed
         0      Debtor 1 only
         :J     Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
         W      Debtor 1 and Debtor 2 only                                                    D   Student loans
         ,_J At least one of the debtors and another                                          D   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
         CJ Check if this claim is for a community debt
                                                                                              D   Debts to pension or profit-sharing plans, and other similar debts
         :,, n,e claim subject to offset?                                                     D   Other. Specify_____________
         ,xf    1,0

         Ll     '(es



                                                                                              Last 4 digits of account number ____                                    $___
         \'n,-1pnority Creditor's Name
                                                                                              When was the debt incurred?

         hbr.1ber            Street
                                                                                              As of the date you file, the claim is: Check all that apply.

         Crty                                             State            ZIP Code           D   Contingent
                                                                                              D   Unliquidated
         Who incurred the debt? Check one.                                                    D   Disputed
         0 Debtor 1 only
         0 Debtor 2 only                                                                      Type of NONPRIORITY unsecured claim:
         0      Debtor 1 and Debtor 2 only                                                    D   Student loans
         0      At least one of the debtors and another                                       D   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
         Ll Check if this claim is for a community debt
                                                                                              D   Debts to pension or profit-sharing plans, and other similar debts
         :s the claim subject to offset?                                                      D   Other. Specify_____________
         :.J No
         W Yes



                                                                                              Last 4 digits of account number ____
         �1·1pnority Creditor's Name
                                                                                              When was the debt incurred?
         ',l,i'r,ber         Street
                                                                                              As of the date you file, the claim is: Check all that apply.

                                                          State            ZIP Code           D   Contingent
                                                                                              D   Unliquidated
         Who incurred the debt? Check one.                                                    D   Disputed
         0      Debtor 1 only
         0      Debtor 2 only                                                                 Type of NONPRIORITY unsecured claim:
         0      Debtor 1 and Debtor 2 only                                                    D   Student loans
         0      At least one of the debtors and another
                                                                                              D   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
         0 Check if this claim is for a community debt
                                                                                              D   Debts to pension or profit-sharing plans, and other similar debts
         Is the claim subject to offset?                                                      D   Other. Specify_____________
         0 No
         0 Yes




                                                               Schedule E/F: Creditors Who Have Unsecured Claims
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                      First Name    Middle Name           Last Name


                     List Others to Be Notified About a Debt That You Already Listed

  s. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, 11st ti ,e
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this pa�w-

                                                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                     Line           of (Check one): D Part 1: Creditors with Priority Unsecured c: "
       Nurnber             Street                                                                                      D Part 2: Creditors with Nonpriority Uns,-:,,"

                                                                                         Last 4 digits of account number____
       City

                                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                         Line        of (Check one): D Part 1: Creditors with Priority Unsecurc,1 C,,,, e : ,.
                           Street                                                                                      D Part 2: Creditors with Nonpriority un,.,,:,y
                                                                                         Claims

                                                                                         Last 4 digits of account number ____
                 ... .,. ,w, -,,_, .,., .~---------------------------------------
                                                  State               ZIP Code


                                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                         Line       of (Check one): D Part 1: Creditors with Priority Unsecured Ci;,;,:,,,
                           Street                                                                                      D Part 2: Creditors with Nonpriority Unsee, irn'
                                                                                         Claims

                                                                                         Last 4 digits of account number ____
       C:ty                 ----m.W,.<.d
                                                  State               ZIP Code
                                           .<,-.C-"._,.,..«<-l<«O«<'a<.0V _____...,___________




                                                                                         On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                         Line       of (Check one): D Part 1: Creditors with Priority Unsecured,_:,:,,,,,.
       t\Jumber            Street                                                                                      D Part 2: Creditors with Nonpriority Ur1scc, ic •
                                                                                         Claims

                                                                                         Last 4 digits of account number ____
       '..�,ty                                    State               ZIP Code


                                                                                         On which entry in Part 1 or Part 2 did you list the original creditor ?

                                                                                         Line       of (Check one): D Part 1: Creditors with Priority Unsecured Ci-1:rr.,
       tJu1r1ber           Street                                                                                      D Part 2: Creditors with Nonpriority Um:ec,11,,,,
                                                                                         Claims

                                                                                         Last 4 digits of account number ____

                                                                                     On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                         Line       of ( Check one): D Part 1: Creditors with Priority Unsecured C ! 11;"
       Number              Street                                                                                      D Part 2: Creditors with Nonpriority Unsecureo
                                                                                     Claims

                                                                                     Last 4 digits of account number ____
      City                                        State               ZIP Code
                 •

                                                                                     On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                     Line           of (Check one): D Part 1: Creditors with Priority Unsecured 1 :1,i,,
       Number              Street
                                                                                                                       D Part 2: Creditors with Nonpriority lJn�Pcurs·•;
                                                                                     Claims

                                                  State               ZIP Code       Last 4 digits of account number ____


, ••k1,3i Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims
     Case 1:18-bk-13319                      Doc 1              Filed 09/04/18 Entered 09/04/18 11:44:02               Desc Main
                                                                Document Page 34 of 60
              Charlene                          M                     Davis           Case number       (1fknown),____________
                First Name     Middle Name          Last Name



           Add the Amounts for Each Type of Unsecured Claim



G Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
  Add the amounts for each type of unsecured claim.




                                                                                     Total claim


T,,tal claims
                 6a. Domestic support obligations                             6a.
                                                                                     $
                                                                                                          0.00
:rem Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                               6b.    $                    0.00
                 6c. Claims for death or personal injury while you were
                     intoxicated                                              6c.
                                                                                     $
                                                                                                          0.00
                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                  6d.
                                                                                    +$                    0.00


                 6e. Total. Add lines 6a through 6d.                          6e.
                                                                                     $                    0.00


                                                                                     Total claim


Total claims 6f. Student loans                                                6f.
                                                                                     $                    0.00
from Part 2
             69. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                       69.    $                    0.00
                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                            6h.    $                    0.00
                 6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                  6i.   +$             16,875.00

                 6j. Total. Add lines 6f through 6i.                          6j.
                                                                                     $             16,875.00




   ;;ii i"orm 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                IJ-, C ·
      Case 1:18-bk-13319                       Doc 1          Filed 09/04/18 Entered 09/04/18 11:44:02                          Desc Main
                                                              Document Page 35 of 60

 Fill in this information to identify your case:

 Debtor            Charlene                    M                        Davis
                    First Name             Middle Name               Last Name

 Debtor 2
 (Spouse If filing) First Name             Middle Name               Last N:'lme


 United States Bankruptcy Court for the: Southern District of Ohio

 Case number
 (If known)                                                                                                                         D Check if this is an
                                                                                                                                       amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                           12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
    i_a" No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
    D Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule AIB: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or l&ase                           State what the contract or lease is for


2.1
      Name

      Number           Street

      City                             State       ZIP Code

2.2
      Name

      Number           Street

      City                             State       ZIP Code

2.3
      Name
                                                                       -------
                                                                             -------
      Number           Street

      City                             State     -ZIP Code
2.4
                                                                     ·--.----
      Name

      Number           Street
                                                                     .-------
      City                             State       ZIP Code
2.5
      Name

      Number           Street

      City


Official Form 106G                             Schedule G: fx.,<;utory Cc,1tre1cts aod Unexpired Leases                                  page 1 of_
         Case 1:18-bk-13319                                            Doc 1            Filed 09/04/18 Entered 09/04/18 11:44:02                           Desc Main
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 Debtor 1         Charlene                                        M                                  Davis                Case number (1fknown),________________
                  First Name         Middle Namr                           Lc1st Name



 - Additional Page if You Have More Cor.i:;·a::;t,., ,.,· Leasei.

         Person or company with whon, you have the-contra....t er 1:;.;;;e ..                                          What the contract or lease is for



         Name


         Number        Street


         City                                             State           ZIP Code

 2._,
         Name


         Number        Street


         City                                             State           ZIP Code
                                                                                                       _______
    -·
                                                                                                                 ._.

 '2.
         Name


         Number        Street



                                                                                                                               ,,,, ,,,,-//.-·---»�--
         City                                             State           ZIP Code


  2.-j
                                                                                                     ---------
         Name


         Number         Street                                                           . . .....
         City                                             State           ZIP Code
                                 ' ' ,,.,.,"��»...,....-wm»»»»m,-.._
  2.-·
         Name


         Number         Street


         City                                             State           ZIP Code

 :2.-
         Name

         Number        Street


         City                                             State           ZIP Code

  2.
         Name


         Number        Street


         City                                             State           ZIP Code

  2.-;
                                                                                                 ··--------
         Name


         Number        Street


         City                                             State           ZIP Code



Official Form 106G                                                     Schedule G: Executory Contracts and Unexpired Leases                                    page_ of --
            Case 1:18-bk-13319                              Doc 1              Filed 09/04/18 Entered 09/04/18 11:44:02                         Desc Main
                                                                               Document Page 37 of 60

    Fill in this information to identify your case:

    Debtor 1               Charlene                             M                        Davis
                            First Name                       Middle Name                Last Name

    DeiJtor 2
    , �r;u�1:-;e !f fihng) First Name                        Middle Name                Last Name


    ·_ c,tec!     States Bankruptcy Court for the: Southern District of Ohio


                                                                                                                                                       D Check il
                                                                                                                                                         amended

 Official Form 106H
 Schedule H: Your Codebtors                                                                                                                                         12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two marriea pcopto
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name ,,r,,'
cas,e number (if known). Answer every question.

    1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
            Ill   No
            D     Yes
    2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
            � No. Go to line 3.
            0 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  0 No
                  D    Yes. In which community state or territory did you live? _________. Fill in the name and current address of that person


                         Name of your spouse, former spouse, or legal equivalent



                         Number            Street



                         City                                          State                          ZIP Code

   3 In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule EIF (Official Form 106EIF), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule EIF, or Schedule G to fill out Column 2.

             Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                                     Check all schedules that apply:
r--- �-l
   �- � j                                                                                                            D Schedule D, line ___
              Name
                                                                                                                     D Schedule E/F, line
              Number              Street                                                                             D Schedule G, line _       _
                                                                                                                                                _

              City                                                _ __
                                                                    _ _State         --------·- _ZIP_Code
r···--··1
     al
'·-·· j                                                                                                              D Schedule D, line
              Name
                                                                                                                     D Schedule E/F, line ___
              t,umber             Street                                                                             D Schedule G, line

              City                                                         State


                                                                                                                     D Schedule D, line
              �Jame
                                                                                                                     0 Schedule E/F, line
              i"Jumber            Street                                                                             D Schedule G, line

                                                                           State.                   . ... ZIP Code



                                                                                    Schedule H: Your Codebtors                                            page 1 oi.
           Case 1:18-bk-13319                       Doc 1           Filed 09/04/18 Entered 09/04/18 11:44:02                               Desc Main
                                                                    Document Page 38 of 60
  Ut..-btor 1          Charlene                     M                        Davis                        Case number (1fknown),_____________
                       First Name     Middle Name       Last Name




  - Additional Page to List More Codebtors

           Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the rlnbt

                                                                                                                Check all schedules that apply:

                                                                                                                D Schedule D, line ___
                                                                                                                □
           N,:1me
                                                                                                                    Schedule E/F, line
           r--:umber         Street                                                                             D Schedule G, line ___


           City                                             ..?.ta
                                                                 . te                       ZIP Code
  --7
    -I     Name
                                                                                                                □   Schedule D, line ___
                                                                                                                □   Schedule E/F, line
           Nt1mber           Street                                                                             □   Schedule G, line


                                                             State..                        ZIP Code


     __J                                                                                                        D Schedule D, line ___
                                                                                                                □   Schedule E/F, line
                             Street                                                                             D Schedule G, line


                                                             State                          ZIP Code



                                                                                                                D Schedule D, line
                                                                                                                □   Schedule E/F, line
           f\Jumber          Street                                                                             □   Schedule G, line


           City                                              State



           �Jame
                                                                                                                □   Schedule D, line ___
                                                                                                                □   Schedule E/F, line
           Number            Street                                                                             □   Schedule G, line


                                                                                     ....   i'.lf(;od_e



           Nz:ime
                                                                                                                □   Schedule D, line
                                                                                                                    Schedule E/F, line
                             Street                                                                             □   Schedule G, line


           City                                             State                           ZIP Code


                                                                                                                D Schedule D, line
                                                                                                                D Schedule E/F, line
                             Street                                                                             D Schedule G, line ___


           C11y                                                                         ........ ZIP.Co=de:::.________



           Name
                                                                                                                □   Schedule D, line
                                                                                                                □   Schedule E/F, line _    _
                                                                                                                                            _
           Number           Street                                                                              □   Schedule G, line ___


           City     _________________                    1P..,;C;,,aode
                                      _ _te__________;az..
                                    Sta                              .,;a "'----------




Official Form 106H                                                      Schedule H: Your Codebtors
           Case 1:18-bk-13319                  Doc 1          Filed 09/04/18 Entered 09/04/18 11:44:02                                       Desc Main
                                                              Document Page 39 of 60

, Fill in this information to identify your case:


     l'ebtor 1            Charlene               M                         Davis
                           First Name          Middle Name                 Last Name

     ;·L_:<Jto:- 2
       •i·nusr'; 1f filing) First Name        Middle Name                  Last Name


, : , n•1ed States Bankruptcy Court for the: Southern District of Ohio

     : _ :➔sA number                                                                                           Check if this is:
                                                                                                               D An amended filing
                                                                                                               D A supplement showing postpetition chapt,c:r
                                                                                                                  income as of the following date
Official Form 1061                                                                                                 MM/ DD/ YYYY

Schedule I: Your Income                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your sp,)u:sc
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed. att;:;ch ,,
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


fill                     Describe Employment


        Fill in your employment
        information.                                                             Debtor1                                        Debtor 2 or non-filing spouse

        if you have more than one job,
        ,,ttact1 a separate page with
        •�formation about additional        Employment status                 li1 Employed                                      D    Employed
        employers.                                                            D Not employed                                    D    Not employed
        nciude part-time, seasonal, or
         ,:1-cmployed work.
        :,0


                                           Occupation                        PCA
        Or;c1Jpation may include student
        •Jr homemaker, if it applies.
                                            Employer's name                 Christ Hospital

                                            Employer's address              2139 Auburn Avenue
                                                                             Number Street                                    Number    Street




                                                                             Cincinnati               OH       45219
                                                                             City             State    ZIP Code               City

                                           How long employed there?              3 months                                       3 months


f@fW                    Give Details About Monthly Income

        Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-t:in "'
        spouse unless you are separated.
        if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
        IJe!ow. If you need more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1        For Debtor 2 or
                                                                                                                              non-filing spous!
                                                                                                                                               ••
         List monthly gross wages, salary, and commissions (before all payroll
         deductions). If not paid monthly, calculate what the monthly wage would be.          2.            1,292.00
                                                                                                      $                          $

         E,;timate and list monthly overtime pay.                                             3. +$              0.00       + $


         Calculate gross income. Add line 2 + line 3.                                        4.       $     1.292.00
                                                                                                                         11      $___
                                                                                                                                  .  _



1
    'tfi,;ia! Form 1061                                                  Schedule I: Your Income                                                        page ·1
      Case 1:18-bk-13319                           Doc 1               Filed 09/04/18 Entered 09/04/18 11:44:02                                                  Desc Main
                                                                       Document Page 40 of 60

                Charlene                          M                             Davis                                           Case number (if known)___________
                                                                                                                                                      .                             _
                 First Name     Middle Name                Last Name



                                                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                                                    non-filing spouse ..
    Copy line 4 here ............   ··············································································�4.       $     1 ,292.00           $_____ _

   List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.        $       244.44            $
     5b. Mandatory contributions for retirement plans                                                            5b.        $        1 2.92           $
     5c. Voluntary contributions for retirement plans                                                            5c.        $        25.84            $
     5d. Required repayments of retirement fund loans                                                            5d.        $          0.00           $
     5e. Insurance                                                                                               5e.        $          0.00           $
     5f. Domestic support obligations                                                                            5f.        $          0.00           $
                                                                                                                            $        1 2.46           $
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify:                                                                              5h. +$                             + $
     Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                  6.        $       295.66            $

     Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.        $       996.34            $

    List all other income regularly received:
     �1a. Net income from rental property and from operating a business,
          profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total
                                                                                                                            $          0.00           $
         monthly net income.                                                                                     Ba.
     8b. Interest and dividends                                                                                  8b.        $          0.00           $
     Be. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                            $          0.00           $
         settlement, and property settlement.                                                                    Be.
     3d. Unemployment compensation                                                                               8d.        $          0.00           $
     Se. Social Security                                                                                         Be.        $          0.00           $
     8f Other government assistance that you regularly receive
        Include cash assistance and the value (if known) of any non-cash assistance
        that you receive, such as food stamps (benefits under the Supplemental
        Nutrition Assistance Program) or housing subsidies.
        Specify: Food Assistance                                                  Bf.                                       $       1 35.00           $
     clg Pension or retirement income                                                                            8g.        $          0.00           $
                                                                                                                 8h. +$                0.00         +$
                                                                                                                                              I
     8h. Other monthly income. Specify: ______________

    Add all other income. Add lines Ba + 8b + Be + 8d + Be + Bf +89 + 8h.                                         9.    I   $       1 20.00           $
                                                                                                                                                                                        -
                                                                                                                                  1 , 131 .34 1+1
                                                                                                                  10.1      $
                                                                                                                                                                            I= s_
 · · i':alculate monthly income. Add line 7 + line 9.
                                                                                                                                                      $
                                                                                                                                                                               �------- ..
      l\dd the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
                                                                                                                                                                              �-·
    State all other regular contributions to the expenses that you list in Schedule J.
    include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    'nends or relatives.
    Uo not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J
    .Specify:   Food Assistance                                                                                                                                       11 + $

 17 Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if ii applies                                                12.
                                                                                                                                                                              Cornbir:cf;
                                                                                                                                                                              monthlv
 1 :J Do you expect an increase or decrease within the year after you file this form?
      � No.
      D Yes. Explain:

Utrcial Form 1061                                                               Schedule I: Your Income
               Case 1:18-bk-13319                     Doc 1         Filed 09/04/18 Entered 09/04/18 11:44:02                                        Desc Main
                                                                    Document Page 41 of 60


  .Jill in this information to identify your case:
   ,. >   �\




    ;:•ehto1· 1              Charlene                   M                         Davis
                              First Name              Middle Name                Last Name                       Check if this is:
    :-_1cr..t0r 2
                     ,ttiling) First Name             Middle Name                Last Name
                                                                                                                 D An amended filing
                                                                                                                 D A supplement showing postpetition chapi,,,
    : ·,:,te,ct States Bankruptcy Court for the: Southern District of Ohio                                           expenses as of the following date
    ,·,,,e number                                                                                                    MM/ DD/ YYYY
          . i,1·101,\n)




  Official Form 106J
  Schedule J: Your Expenses
  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case nw,, ·,,.,
  (if known). Answer every question.

                            Describe Your Household

     i:; lhis a joint case?

                  �Jo. Go to line 2.
                  ·✓es. Does Debtor 2 live in a separate household?

                          0 No

                                                   ·--------------------------- ________
                          D Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.                      ,,,,,


      nu you have dependents?                       0 No                                      Dependent's relationship to             Dependent's      Does depE:1uk(:1 ,,.,,
       ::,J not list Debtor 1 and                   li1' Yes. Fill out this information for   Debtor 1 or Debtor 2                    age              withyou?

                                                                                                                                                       □ No
      ueotor 2.                                         each dependent .......................... ------------
      t nJ not state the dependents'                                                          Daughter                                13
      11: :r1::;s_
                                                                                                                                                            Yes
                                                                                                                                                       □    No
                                                                                                                                                       □ YPs
                                                                                                                                                       □ No
                                                                                                                                                       □ YPS
                                                                                                                                                       lJ     No
                                                                                                                                                       □ YPS
                                                                                                                                                       CJ   Nu
                                                                                                                                                       □ Yr�s
     Do your expenses include
     expenses of people other than
                                                    □ No
     yourself andy<>urdependents? .                 D   Yes

                          Estimate Your Ongoing Monthly Expenses

  E:,timate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to rcpo,,.
  dp,•nses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in t'.1,
  ;ar,oiicable date.
  ;,,: :,,cte expenses paid for with non-cash government assistance if you know the value of
  ,.,-c n assistance and have included it on Schedule I: Your Income (Official Form 1061.)                                                 Your expenses

          'T hG rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                        $____ 1_9_0
                                                                                                                                               _    QCJ
            ,:;1 ;ent for the ground or lot.                                                                                    4.

          ;; ,:ot included in line 4:
                     Real estate taxes                                                                                          4a.     $________ 0 . 00
                                                                                                                                                   __
          ,,b        Property, homeowner's, or renter's insurance                                                               4b.               0 OU
                                                                                                                                        $____________ ,_
                     Home maintenance, repair, and upkeep expenses                                                              4c.     $______ . ___ _:       g _oc
          r,ct.      Homeowner's association or condominium dues                                                                4d.              _ 0 00
                                                                                                                                        $___ _ _ _

·Jff,uc1'. Form 106J                                                   Schedule J: Your Expenses
        Case 1:18-bk-13319                       Doc 1            Filed 09/04/18 Entered 09/04/18 11:44:02                    Desc Main
                                                                  Document Page 42 of 60

                    Charlene                     M                       Davis                 Case number (if known)___________                    _
                                                                                                                                                    _
                    First Name     Middle Name        Last Name




                                                                                                                          Your expenses

  r,   Additional mortgage payments for your residence, such as home equity loans                              5.     $______0__ 0_0

       Utilities:
       6a.     Electricity, heat, natural gas                                                                  Sa.    $                   200.00

       Gb      Water, sewer, garbage collection                                                                Sb.    $                       0 ,_,·

       sc      Telephone, cell phone, Internet, satellite, and cable services                                  Sc.    $ ---- - _ 1f30 (;;
               Other. Specify: ____________________                                                            6d.    $

       Food and housekeeping supplies                                                                          7.     $                   200 (;r,

       .:raildcare and children"s education costs                                                              8.     $                    55.V.
                                                                                                                                           -, ,� .
       ;·;1othing, laundry, and dry cleaning                                                                   9.
                                                                                                                                              .•�


                                                                                                                      $                     : �,.\_!\


       ""xsonal care products and services                                                                     10.    $
       Medical and dental expenses                                                                             11.    $ _____O�V)

       ·,ransportation. Include gas, maintenance, bus or train fare.
       L�o not include car payments.                                                                           12.
                                                                                                                      $         --50.00
                                                                                                                           ---- -
       Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.    $                   100.00

       Charitable contributions and religious donations                                                        14.    $                      0,08

       insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a     Life insurance                                                                                  15a.   $                      0.00
       15b     Health insurance                                                                                15b.   $
       1 'ic Vehicle insurance                                                                                 15c.   $

       '5d Other insurance. Specify: __________________                                                        15d.   $

       ·:·axes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: _________ _________________                                                                    16.    $

  '    Installment or lease payments:
       , 1   a Car payments for Vehicle 1                                                                      17a.   $                   31 7 (J,;

       , in Car payments for Vehicle 2                                                                         17b.   $

       · 1c Other. Specify:____ _______________ __                                                             17c.   $

               Other. Specify: _____________________                                                           17d.   $

       Your payments of alimony, maintenance, and support that you did not report as deducted from
       1our pay on line 5, Schedule I, Your Income (Official Form 1061).                                        18.                          0 00
                                                                                                                      $

       Other payments you make to support others who do not live with you.
       Specify:__________________________                                                                       19.   $                      0 00

       Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
                                                                                                                                                 ,., .
       20a     Mortgages on other property                                                                     20a.   $                      0 . LnJ

       ;,ob Real estate taxes                                                                                  20b.   $

       20c.    Property, homeowner's, or renter's insurance                                                    20c.   $

       ,o� Maintenance, repair, and upkeep expenses                                                            20d.   $

       ;-o,,. Homeowner's association or condominium dues                                                      20e.   $



, n,ci:;i Form 106J                                                Schedule J: Your Expenses
          Case 1:18-bk-13319                     Doc 1           Filed 09/04/18 Entered 09/04/18 11:44:02                     Desc Main
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 Debtor 1           Charlene                     M                      Davis                  Case number (if known)._______ _ _
                                                                                                                                _ ____�·---- __
                     First Name    Middle Name       Last Name




· ;     Other. Specify: ______________________                                                                 21.       +$


        Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                          22a.   I   $          1,581.00
         :20 Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                  22b.                        0 (};
        :'2c Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  1,581 cc
                                                                                                                     �

      Calculate your monthly net income.                                                                                                  ·:u
                                                                                                                          $         1,131 ._,..,
      23a.     Copy line 12 (your combined monthly income) from Schedule I.                                   23a.

      2'.,b.   Copy your monthly expenses from line 22c above.                                                23b.
                                                                                                                         -$         1,581 ()()
                                                                                                                                               -·-·1

      23c.     Subtract your monthly expenses from your monthly income.
                                                                                                                          $          -449 G(''.
               The result is your monthly net income.                                                         23c.




::4 Do you expect an increase or decrease in your expenses within the year after you file this form?

      � -or example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      . .t!lNo.
      :.J Yes.         Explain here:




.,,.;, ... ,al t'orm 106J                                         Schedule J: Your Expenses
          Case 1:18-bk-13319                        Doc 1       Filed 09/04/18 Entered 09/04/18 11:44:02                                          Desc Main
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Fill in thi s information to identify your case:


Debtor 1           Charlene                       M                  Davis

Debtor 2
                    First Name                  Middle Name            Last Name


(Spouse, if filing) First Name                  Middle Name            Last Name


United States Bankruptcy Court for the: Southern District of Ohio

Case number
(If known)
                                                                                                                                                   D Check if this is an
                                                                                                                                                      amended filing


  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                           12/15

  If two married people are filing together, both are equally responsible for supplying correct information.
 You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
 obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?
       0 No
       liif' Yes.     Name of person    MA'AT Business Consultants & Paralegals . Attach Bankruptcy Petition Preparers Notice, Declaration, and
                                                                                                                 Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and corr ct.




         Signature of Debtor 1                                            Signature of Debtor 2

                    9
         DateO
                MM/
                         01 �01(
                        DD /     YYYY
                                                                          Date
                                                                                   -:-:-:-:-c-
                                                                                               ,,.,,----,-..,,,.,,..,,.,.­
                                                                                    MM/ DD I YYYY




 Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
         Case 1:18-bk-13319                       Doc 1         Filed 09/04/18 Entered 09/04/18 11:44:02                             Desc Main
                                                                Document Page 45 of 60

   Fill in this information to identify your case:

   Debtor 1              Charlene                 M                      Davis
                         First Name              Middle Name              Last Name

   Debtor 2
   (Spouse, if filing)   First Name              Middle Name              Last Name


   United States Bankruptcy Court for the: Southern District of Ohio

   Case number
   (If known)                                                                                                                         D Check if this is an
                                                                                                                                         amended filing



  Official Form 1 07
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                    04/16
 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


                    Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

         D Married
         � Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?
        [j No
        D Yes. List all of the places you lived in the last 3 years.    Do not include where you live now.

                Debtor 1:                                          Dates Debtor 1      Debtor 2:                                           Dates Debtor 2
                                                                   lived there                                                             lived there

                                                                                       D Same as Debtor 1                                 D Same as Debtor 1

                                                                   From                                                                       From
                  Number              Street                                               Number Street
                                                                   To                                                                         To     ---


                 City                          State ZIP Code                              City                   State ZIP Code

                                                                                       D   Same as Debtor 1                               D   Same as Debtor 1

                                                                   From                                                                       From
                 Number               Street                                               Number Street
                                                                   To                                                                         To



                 City                          State ZIP Code                              City                   State   ZIP Code

   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        [j No
        D    Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 f§fj
Official Form 107
                  Explain the Sources of Your Income

                                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page 1
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Debtor 1      Charlene                        M                      Davis                            Case number (if known),_______________
               First Name       Middle Name        Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     0 No
     li2I' Yes. Fill in the details.



                                                         Sources of income            Gross income             Sources of income         Gross income
                                                         Check all that apply.        (before deductions and   Check all that apply.     (before deductions and
                                                                                      exclusions)                                        exclusions)

                                                          li2I' Wages,commissions,                             D Wages, commissions,
           From January 1 of current year until
                                                                bonuses.tips       $             5,000.00        bonuses,tips            $
           the date you filed for bankruptcy:
                                                          D Operating a business                               D Operating a business


           For last calendar year:                        li2I' Wages, commissions,                            D Wages,commissions,
                                                                bonuses,tips          $        23,051.00         bonuses, tips           $
           (January 1 to December 31, 2017                D Operating a business                               D Operating a business
                                      yyyy


           For the calendar year before that:             liZf Wages, commissions,                             D Wages,commissions,
                                                            bonuses,tips                                         bonuses,tips
                                                                                      $        19,641.00                                 $
           (January 1 to December 31, 2016                D Operating a business                               D Operating a business
                                      yyyy


 s. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     [il No
     D Yes. Fill in the details.

                                                          Sources of income           Gross income from         Sources of income        Gross income from
                                                          Describe below.             each source               Describe below.          each source
                                                                                      (before deductions and                             (before deductions and
                                                                                      exclusions)                                        exclusions)


           From January 1 of current year until                                       $________ ---------- $________
           the date you filed for bankruptcy:
                                                                                      $________ ---------- $________
                                                                                      $________ ---------- $_                                 ______

                                                                                      $_______
           For last calendar year:                                                                                                      $_______
           (January 1 to December 31,�                                                $_______                                          $________
                                     yyyy                                             $_______
                                                                                                                                        $_______



           For the calendar year before that:                                                                                           $
                                                                                      $_______                                           ________
           (January 1 to December 31,�                                                $_______                                          $_______
                                     yyyy
                                                                                      $_______                                          $_______




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1      Charlene                            M                      Davis                      Case number (,fknown)_ ______________
               First Name        Middle Name            Last Name




              List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

     D     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
               "incurred by an individual primarily for a personal, family, or household purpose."
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               D    No. Go to line 7.

               D    Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     liZ'.i Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               D    No. Go to line 7.

               D    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                         Dates of    Total amount paid       Amount you still owe     Was this payment for...
                                                                         payment

                                                                                     $_______ $
                      Creditor's Name
                                                                                               ________                               D Mortgage
                                                                                                                                      Dear

                      Number    Street                                                                                                D Credit card
                                                                                                                                      D Loan repayment
                                                                                                                                      D Suppliers or vendors
                      City                     State        ZIP Code                                                                  D Other _____


                      Creditor's Name
                                                                                     $        $
                                                                                      _______ _______                                 D Mortgage
                                                                                                                                      Dear

                      Number    Street                                                                                                D Credit card
                                                                                                                                      0 Loan repayment
                                                                                                                                      D Suppliers or vendors
                      City                     State        ZIP Code
                                                                                                                                      0 Other _____



                      Creditor's Name
                                                                                     $________ $_______                               D Mortgage
                                                                                                                                      Dear

                      Number    Street                                                                                                0 Credit card
                                                                                                                                      0 Loan repayment
                                                                                                                                      0 Suppliers or vendors
                      City                     State        ZIP Code                                                                  D Other _____



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                          page3
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Debtor 1       Charlene                           M                      Davis                       Case number (if known),_______________
                   First Name      Middle Name           Last Name




 7, Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voling securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     l1f No
     D     Yes. List all payments to an insider.
                                                                          Dates of    Total amount     Amount you still    Reason for this payment
                                                                          payment     paid             owe


                                                                                     $_____ $_____
            Insider's Name



            Number        Street




            City                                 State   ZIP Code



                                                                                     $_____ $_____
            Insider's Name


            Number        Street




            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     l1f No
     D     Yes. List all payments that benefited an insider.
                                                                         Dates of     Total amount     Amount you still    Reason for this payment
                                                                         payment      paid             owe                 Include creditor's
                                                                                                                                   ~--~�---- - ---~name


            Insider's Name
                                                                                     $_____ $_____



            Number        Street




            City                                 State   ZIP Code



                                                                                     $_____ $_____
            Insider's Name



            Number       Street




            City                                 State   ZIP Code



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Debtor 1        Charlene                             M                        Davis                            Case number (if known)_______________
                First Name            Middle Name            Last Name




                Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     Iii' No
     D     Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                Status of the case



            Case title.____________                                                                     Court Name
                                                                                                                                                        D   Pending

                                                                                                                                                        D   On appeal

                                                                                                        Number   Street                                 D   Concluded

            Case number
                                                                                                        City                   State   ZIP Code




            Case title____________                                                                      Court Name
                                                                                                                                                        D   Pending

                                                                                                                                                        D   On appeal

                                                                                                        Number   Street                                 D   Concluded

            Case number
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     !if' No.   Go to line 11.
     D     Yes. Fill in the information below.

                                                                              Describe the property                                     Date        Value of the property



                                                                                                                                                    $
                 Creditor's Name
                                                                                                                                                        ______


                 Number      Street                                           Explain what happened

                                                                              D    Property was repossessed.
                                                                              D    Property was foreclosed.
                                                                              D    Property was garnished.
                 City                               State   ZIP Code          D    Property was attached, seized, or levied.
                                                                              Describe the property                                     Date         Value of the properq



                                                                                                                                                    $
                                                                                                                                                     ______
                 Creditor's Name



                 Number      Street
                                                                              Explain what happened

                                                                              D    Property was repossessed.
                                                                              D    Property was foreclosed.

                 City                               State   ZIP Code
                                                                              D    Property was garnished.
                                                                              D    Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
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Debtor 1           Charlene                        M                        Davis                         Case number (1fknown)_______________
                   First Name      Middle Name            Last Name




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?

     liZl   No
     D      Yes. Fill in the details.

                                                                  Describe the action the creditor took                    Date action      Amount
                                                                                                                           was taken
            Creditors Name



            Number     Street
                                                                                                                                            $_______




            City                           State   ZIP Code      Last 4 digits of account number: XXXX-____


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors, a court-appointed receiver, a custodian, or another official?

     0 No
     D Yes

•iii               List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     lia No
     D      Yes. Fill in the details for each gift.

              Gifts with a total value of more than $600         Describe the gifts                                        Dates you gave     Value
              per person                                                                                                   the gifts



                                                                                                                                             $______
            Person to Whom You Gave the Gift


                                                                                                                                             $_____

            Number     Street



            City                           State   ZIP Code


            Person's relationship to you


            Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave    Value
            per person                                                                                                     the gifts



            Person to Whom You Gave the Gift
                                                                                                                                             $______


                                                                                                                                             $______



            Number     Street



            City                           State   ZIP Code


            Person's relationship to you ______



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 6
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Debtor 1           Charlene                       M                           Davis                             Case number (if known)_______________
                   First Name     Middle Name                Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     � No
     D Yes. Fill in the details for each gift or contribution.
            Gifts or contributions to charities                     Describe what you contributed                                        Date you          Value
            that total more than $600                                                                                                    contributed



                                                                                                                                                           $______
           Charity"s Name


                                                                                                                                                           $______



           Number      Street




           City           State        ZIP Code




•&•I                List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?
     (il No
     D Yes. Fill in the details.
            Describe the property you lost and                      Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                        loss              lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule AIB: Property.


                                                                                                                                                            $______




•Mil               List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     iia° No
     D     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was
            Person Who Was Paid                                                                                                          made


            Number       Street
                                                                                                                                                           $ _____


                                                                                                                                                           $______
            City                         State    ZIP Code



            Email or website address


            Person Who Made the Payment. if Not You



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Debtor 1           Charlene                        M                           Davis                           Case number (1fknown)_______________
                    First Name      Middle Name              Last Name




                                                                     Description and value of any property transferred               Date payment or           Amount of
                                                                                                                                     transfer was made         payment


            Person Who Was Paid
                                                                                                                                                           $
                                                                                                                                                            _____
            Number        Street
                                                                                                                                                           $
                                                                                                                                                               ______



            City                        State     ZIP Code




            Email or website address


            Person Who Made the Payment, if Not You


  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16.

     lif No
     D     Yes. Fill in the details.
                                                                     Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                     transfer was
                                                                                                                                     made
            Person Who Was Paid

                                                                                                                                                           $
             Number        Street                                                                                                                              _____


                                                                                                                                                           $._____
             City                        State    ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do not include gifts and transfers that you have already listed on this statement.
     lif No
     D     Yes. Fill in the details.
                                                                    Description and value of property         Describe any property or payments received         Date transfer
                                                                    transferred                               or debts paid In exchange                          was made

            Person Who Received Transfer


            Number        Street




            City                        State     ZIP Code


            Person's relationship to you _____


            Person Who Received Transfer


            Number        Street




            City                        State     ZIP Code

            Person's relationship to you _____

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           pages
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Debtor 1         Charlene                          M                           Davis                           Case number (if known)_______________
                     First Name     Middle Name              Last Name




  19. Within  10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
       are a beneficiary? (These are often called asset-protection devices.)

       !iZI" No
       0 Yes. Fill in the details.

                                                                     Description and value of the property transferred                                       Date transfer
                                                                                                                                                             was made


             Name of trust




                List Certain Flnanclal Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
       liZI" No
       0 Yes. Fill in the details.
                                                                     Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                         instrument                closed, sold, moved,   closing or transfer
                                                                                                                                   or transferred

              Name of Financial Institution
                                                                     XXXX-_ - - -                        0 Checking                                       $_____
              Number Street                                                                              0 Savings
                                                                                                         0 Money market
                                                                                                         0 Brokerage
              City                       State    ZIP Code                                               Oather____



                                                                     XXXX-____                           0 Checking                                       $ _____
              Name of Financial Institution
                                                                                                         0 Savings
              Number Street                                                                              0 Money market
                                                                                                         □ Brokerage
                                                                                                         Oather____
              City                       State    ZIP Code

 21.   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
       securities, cash, or other valuables?
       lifNo
       0 Yes. Fill in the details.
                                                                     Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                                 have it?

                                                                                                                                                                 0 No
              Name of Financial Institution                         Name                                                                                         0 Yes


              Number Street                                         Number   Street


                                                                    City       State      ZIP Code
              City                      State     ZIP Code


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9
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    Debtor 1          Charlene                         M                            Davis                                Case number (1fknown},_______________
                       First Name     Middle Name                Last Name




122. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
i    li1 No
     0 Yes. Fill in the details.
                                                                        Who else has or had access to it?                    Describe the contents              Do you still
                                                                                                                                                                have it?

                                                                                                                                                                □ No
                 Name of Storage Facility                               Name
                                                                                                                                                                □ Yes
                 Number      Street                                     Number    Street


                                                                        City State ZIP Code

                City                         State    ZIP Code



                         Identify Property You Hold or Control for Someone Else

     23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
         or hold in trust for someone.
         lit No
         0 Yes. Fill in the details.
                                                                       Where is the property?                                Describe the property          Value


                Owner"s Name
                                                                                                                                                            $.____

                                                                      Number     Street
                Number       Street



I                                                                     City                          State     ZIP Code
                City                         State    ZIP Code



h&ii·M
I

                         Give Details About Envlronmental Information

     For the purpose of Part 10, the following definitions apply:
     111 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
         hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
         including statutes or regulations controlling the cleanup of these substances, wastes, or material.
     111 Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
         utilize it or used to own, operate, or utilize it, including disposal sites.
     111 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
         substance, hazardous material, pollutant, contaminant, or similar term.
     Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

     24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

         li1 No
         0 Yes. Fill in the details.
                                                                       Governmental unit                          Environmental law, if you know it        Date of notice



               Name of site                                           Governmental unit


               Number      Street                                     Number     Street


                                                                      City                 State   ZIP Code



               City                         State    ZIP Code



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Debtor 1        Charlene                          M                            Davis                                   Case number (if known)___
                                                                                                                                             ,        _ _ _________
                                                                                                                                                      _
                    First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?
     lit No
     0 Yes. Fill in the details.
                                                                   Governmental unit                              Environmental law, if you know it                   Date of notice



             Name of site                                          Governmental unit

             Number        Street                                  Number   Street


                                                                   City                State    ZIP Code

             City                        State    ZIP Code

 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
     liZI
       No
     0 Yes. Fill in the details.
                                                                                                                                                                       Status of the
                                                                     Court or agency                                   Nature of the case
                                                                                                                                                                       case

            Case title____________
                                                                     Court Name
                                                                                                                                                                       0   Pending

                                                                                                                                                                       0   On appeal
                                                                     Number Street                                                                                     D   Concluded


            Case number                                              City                      State   ZIP Code


                      Give Detalls About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        0 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
        0 A member of a limited liability company (LLC) or limited liability partnership (LLP)
        0 A partner in a partnership
        0 An officer, director, or managing executive of a corporation
            0 An owner of at least 5% of the voting or equity securities of a corporation
     Gt No. None of the above applies. Go to Part 12.
     0 Yes. Check all that apply above and fill in the details below for each business.
                                                                     Describe the nature of the business                             Employer Identification number
                                                                                                                                     Do not include Social Security number or ITIN.
             Business Name

                                                                                                                                      EIN: __ _______
             Number Street
                                                                     Name of accountant or bookkeeper                                Dates business existed


                                                                                                                                     From               To
             City                        State    ZIP Code
                                                                     Describe the nature of the business                             Employer Identification number
                                                                                                                                     Do not include Social Security number or ITIN.
             Business Name

                                                                                                                                     EIN: __ _______
             Number        Street
                                                                     Name of accountant or bookkeeper                                Dates business existed


                                                                                                                                     From               To
             City                        State    ZIP Code

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                 page 11
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                                                                             Document Page 56 of 60

Debtor 1        Charlene                              M                           Davis                             Case number (1fknown)
                    First Name        Middle Name                Last Name




                                                                                                                                    Employer Identification number
                                                                         Describe the nature of the business
                                                                                                                                    Do not include Social Security number or ITIN.
             Business Name
                                                                                                                                     EIN: --        -------
             Number Street
                                                                         Name of accountant or bookkeeper                            Dates business existed




                                                                                                                                     From              To
             City                             State   ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     0 No
     D Yes. Fill in the details below.
                                                                         Date issued




             Name                                                        MM/00/YYYY



             Number        Street




             City                             State   ZIP Code




•difI
                                                          "M
                    Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      :u ... c. §§ ..,. , .,. m•...


                                                                                       JC
             Signature of Debtor 1                                                          Signature of Debtor 2

                     01          i   J_ �
             Date       / ., -,       / (.)                                                 Date___        _
                                                                                                           __

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      iii'    No
      D       Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      0 No
      Ga' Yes. Name of person MA'AT Business Consultants & Paralegals                                                     .   Attach the Bankruptcy Petition Preparers Notice,
                                                                                                                              Declaration, and Signature (Official Form 119).




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 12
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                                                                Document Page 57 of 60

    Fill in this infonnat1on to identify the case:


  Debtor 1           Charlene                   M                       Davis
                      First Name               Middle Name              Last Name

  Debtor2
  (Spouse, if filing) First Name               Middle Name              Last Name


    United States Bankruptcy Court for the: Southern District of Ohio


  Case nu m ber                                                         Chapter ____
   (If known)



Official Farm 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                             12/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 11 O must fill out this form every time they help prepare documents that are filed in the
case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 2. A bankruptcy petition preparer who
does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
imprisoned, or both. 11 U.S.C. § 11 O; 18 U.S.C. § 156.




■ §fl             Notice to Debtor



 Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
 filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

         Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

        1111 whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);
        1111 whether filing a case under chapter 7, 11, 12, or 13 is appropriate;
        1111 whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;
        1111 whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;
        1111 what tax consequences may arise because a case is filed under the Bankruptcy Code;
        1111 whether any tax claims may be discharged;
        1111 whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;
        1111 how to characterize the nature of your interests in property or your debts; or
        1111 what procedures and rights apply in a bankruptcy case.



         The bankruptcy petition preparer _Antionette Jones
                                            _ _ _ _________________________ has notified me of
                                                    N a me
         any maximum allowable fee before preparing any document for filing or accepting any fee.




                                                                                                        DateCfl Q) �DJ<{
                                                                                                            MM/DD /YYYY



                                                                                                        Date,.,.,.,,...,.,,____
          Signature of Debtor2 acknowledging receipt of this notice                                          MM/DD /YYYY




Official Form 119                                Bankruptcy Petition Preparer"s Notice, Declaration, and Signature                      page 1
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                                                                       Document Page 58 of 60


Debtor 1      Charlene                             M                             Davis                             Case number (If known)_______________
               First Name            Middle Name         Last Name



               Declaration and Signature of the Bankruptcy Petition Preparer



  Under penalty of perjury, I declare that:
  Ill I am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;
  111 I or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
      Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and
 !II if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
     preparers may charge, I or my firm notified the debtor of the maximum amount before preparing any document for filing or before
     accepting any fee from the debtor.

     Antionette Jones
     Printed name                                       TiHe, if any                           Firm name, if it applies

     1014 E. McMillan Street
     Number                 Street

     Cincinnati   OH
     --------------                                                 ------ 513-221-6228
                                                                 45206
     City                                               State            ZIP Code              Contact phone


     I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I check:
     (Check all that apply.)

     Ga' Voluntary Petition (Form 101)                                 �edule I (Form 1061)                                   □      Chapter 11 Statement of Your Current Monthly

     Ga' Statement About Your Social Security Numbers                                                                                Income (Form 122B)

     �
        orm 121)
                                                                       !;a
                                                                              Schedule J (Form 106J)

                                                                              Declaration About an Individual Debtor's
                                                                                                                              □      Chapter 13 Statement of Your Current Monthly
                                                                                                                                     Income and Calculation of Commitment Period
      Summary of Your Assets and Liabilities and                              Schedules (Form 106Dec)                                (Form 122C-1)
      Certain Statistical Information (Form 106Sum)
     Ga' Schedule A/B (Form 106A/B)
                                                                       liZI   Statement of Financial Affairs (Form 107)       □
                                                                       □
                                                                                                                                     Chapter 13 Calculation of Your Disposable
                                                                                                                                     Income (Form 122C-2)
                                                                                                                              lt1
                                                                              Statement of Intention for Individuals Filing
     !;a' Schedule C (Form 106C)                                              Under Chapter 7 (Form 108)                             Application to Pay Filing Fee in Installments
     !;a' Schedule D (Form 1060)                                       liZI                                                          (Form 103A)
                                                                                                                              □
                                                                              Chapter 7 Statement of Your Current
                                                                              Monthly Income (Form 122A-1)
                                                                       □
                                                                                                                                     Application to Have Chapter 7 Filing Fee
     !;a' Schedule E/F (Form 106E/F)
                                                                                                                                     Waived (Form 103B)
     Ga' Schedule G (Form 106G)                                               Statement of Exemption from Presumption
                                                                              of Abuse Under§ 707(b)(2)                       liZI   A list of names and addresses of all creditors
     Ga' Schedule H (Form 106H)                                               (Form 122A-1Supp)
                                                                       □
                                                                                                                                     ( creditor or mailing matrix)

                       �,
                                                                              Chapter 7 Means Test Calculation
                                                                              (Form 122A-2)
                                                                                                                              □      Other



                                                   sign a d give their Social Security numbers. If more than one bankruptcy petition preparer prepared the documents
                                                   e sig lure and Social Security number of each preparer must be provided. 11 U.S.C.§ 11O.




                                                                                                    8 1 0 - 7 3 - 4 2 1 9
                                                                     ipal, responsible            Social Security number of person who signed



     Antionette Jones
     Printed name
                                         'I�
                                                                                                                                                     Date ______
     Signature of bankruptcy petition preparer or officer, principal, responsible                 Social Security number of person who signed            MM/DD/YYYY
     person, or partner



     Printed name




Official Form 119                                         Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                            page 2
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                                                           Document Page 59 of 60
  Fill in this information to identify your case:                                                         Check one box only as directed in this form and in
                                                                                                          Form 122A-1 Supp:
 Debtor 1          Charlene                   M.                      Davis
                    First Name               Middle Name               Last '-Ja.ne
                                                                                                          !i2I' 1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name              Middle Name               Last Name                          D    2. The calculation to determine if a presumption of
                                                                                                                  abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Southern District of Ohio                                                Means Test Calculation (Official Form 122A-2).
 Case number                                                                                              D    3. The Means Test does not apply now because of
  (If known)                                                                                                      qualified military service but it could apply later.


                                                                                                          D Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under§ 707(b)(2) (Official Form 122A-1 Supp) with this form.

                Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      � Not married. Fill out Column A, lines 2-11.
      D Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      D    Married and your spouse is NOT filing with you. You and your spouse are:
           D      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           D      Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the &-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
     Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A              ColumnB
                                                                                                          Debtor 1              Debtor2 or
                                                                                                                                non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).                                                                      $    1,292.00          $____

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.
                                                                                                               0.00
                                                                                                           $----                  $_____

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                               $         0.00         $_____

 5. Net income from operating a business, profession,
                                                                     Debtor 1         Debtor2
     or farm
     Gross receipts (before all deductions)                           $_               $_
                                                                        _                 _
     Ordinary and necessary operating expenses                       -$               -$     _
                                                                          ___
                                                                                                 �:::t�
                                                                                           __
     Net monthly income from a business, profession, or farm          $---2:.Q.9       $
                                                                                        __
                                                                                           _              $          0.00         $_____

 6. Net income from rental and other real property                   Debtor 1         Debtor2
    Gross receipts (before all deductions)                            $__              $__
     Ordinary and necessary operating expenses                       -$                $
                                                                                      - __
                                                                                                 Copy
     Net monthly income from rental or other real property              0 · 00
                                                                      $__              $__ here�          $          0.00         $_____
                                                                                 _
 7. Interest, dividends. and royalties                                                                    $          0.00         $____



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                          page 1
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Debtor 1         Charlene                       M.                    Davis                          Case number (if known)_______________
                First Name     Middle Name           Last Name



                                                                                                         Column A                                          Co/umnB
                                                                                                         Debtor 1                                          Debtor 2 or
                                                                                                                                                           non-filing spouse
                                                                                                                   0.00
                                                                                                              $ ----
     Do not enter the amount if you contend that the amount received was a benefit
 8. Unemployment compensation                                                                                                                                 $____

     under the Social Security Act. Instead, list it here: ............................ -1-
       For you .. .........................                                 $__0�.0�0�
           For your spouse
 9. Pension or retirement income. Do not include any amount received that was a
                                                                      $ ______

    benefit under the Social Security Act.                                                                    $__0_. 0
                                                                                                                     _ 0
 10. Income from all other sources not listed above. Specify the source and amount.
                                                                                                                                                              $_____

     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

                                                                                                            $                      0.00                       $._____


      Total amounts from separate pages, if any.
                                                                                                            $ ____                                            $_____

                                                                                                         +$____                                            +$_____

 11. Calculate your total current monthly income. Add lines 2 through 1O for each
     column. Then add the total for Column A to the total for Column B.                                       292
                                                                                                      L.:$==,1 = = =--� + !                                    $====-..ii = $                 I         ,1 292.
                                                                                                                                                                                                  Total current
                                                                                                                                                                                                                  ool
                                                                                                                                                                                                  monthly Income

               Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a. Copy your total current monthly income from line 11....                                          ......................... Copy line 11 here�                               I   $         ,1 292.00
              Multiply by 12 (the number of months in a year).                                                                                                                            X         2
                                                                                                                                                                                                    1
     12b. The result is your annual income for this part of the form.                                                                                                         12b.1····   $15 504 00

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.                            loH10

     Fill in the number of people in your household.

     Fill in the median family income for your state and size of household.                           ....................                                                                $60,834.00
     To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                                                                                           . .................. 13.


     instructions for this form. This list may also be available at the bankruptcy clerk's office.
 14. How do the lines compare?

     14a. Iii Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
              Go to Part 3.
     14b. D Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
            Go to Part 3 and fill out Form 122A-2.

                Sign Below

                                             under penalty of per"ury that the information on this statement and in any attachments is true and correct.



                   Sign                                                                           Signature of Debtor 2

                   Dateo9      DI;;_ 0{�
                       MM/ DD /YYYY
                                                                                                  Date
                                                                                                         ...,.MM
                                                                                                               .,., ..,...,../ -=D-=D-/'"'yy
                                                                                                                                          .,,.,,..y""y,-

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.
 ---------------------------------------•,•=•"""'"--==" " "'m'

Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                                                                 page 2
